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              EXHIBIT 1
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 1

 2                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 3
                                      SAN FRANCISCO DIVISION
 4

 5

 6
     IN RE: FACEBOOK, INC. CONSUMER              Case No. 3:18-MD-02843-VC
 7   PRIVACY USER PROFILE LITIGATION,
 8
     This document relates to:                   DECLARATION OF STEVEN
 9                                               WEISBROT OF ANGEION GROUP, LLC
                                                 IN SUPPORT OF MOTION FOR FINAL
     ALL ACTIONS
10                                               APPROVAL OF CLASS ACTION
                                                 SETTLEMENT
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                                   DECLARATION OF STEVEN WEISBROT
     Case 3:18-md-02843-VC           Document 1145-2          Filed 07/11/23       Page 3 of 88



 1   I, Steven Weisbrot, Esq., declare under penalty of perjury as follows:

 2   1.      I am the President and Chief Executive Officer at the class action notice and claims
 3   administration firm Angeion Group, LLC (“Angeion”). I am fully familiar with the facts attested to

 4   herein based upon my personal knowledge.

 5   2.      My credentials were previously reported to this Court in my prior declaration that was filed

 6   with Plaintiffs’ Notice of Motion and Motion to Certify a Settlement Class and Grant Preliminary

 7   Settlement Approval (Dkt 1096-2) (the “Notice Plan Declaration”).

 8   3.      The purpose of this declaration is to provide the Parties and the Court with a summary of the

 9   Notice Program.

10   4.      Angeion was retained by the Parties and appointed by this Court pursuant to this Court’s Order

11   Certifying Settlement Class; Granting Preliminary Approval of Class Action Settlement Pursuant to

12   Federal Rule of Civil Procedure 23(e)(1); and Approving Form and Content of Class Notice (the

13   “Preliminary Approval Order”) dated March 29, 2023, to serve as the Claims Administrator in

14   connection with the above-captioned litigation. In that role, among other tasks, Angeion is responsible

15   for (1) the implementation and effectuation of the Notice Program; (2) processing Claim Forms; (3)

16   receiving and maintaining any requests for exclusion from the Settlement; (4) administering Claim
17   Settlement Payments; and (5) performing other duties pursuant to the Preliminary Approval Order and
18   the Class Action Settlement and Release (the “Settlement Agreement”).

19                                       SETTLEMENT CLASS DATA

20   5.      On May 16, 2023, counsel for Defendant provided Angeion with multiple files containing a
21   total of 699,693,067 records combined. The data consisted of usernames (provided for 501,270,713

22   records), user IDs (provided for 699,693,067 records), account creation date (provided for

23   699,523,266 records), emails (provided for 497,098,772 records) and phone numbers (provided for

24   395,871,348 records) for current Facebook accounts. Angeion will use the data for claims analysis.

25        NOTICE PURSUANT TO THE CLASS ACTION FAIRNESS ACT 28 U.S.C. § 1715

26   6.      On December 30, 2022, Angeion, on behalf of Defendant, caused notice of the proposed class
27   action settlement to be sent to the Attorney Generals of all states and territories, as well as the Attorney
28

                                    DECLARATION OF STEVEN WEISBROT
     Case 3:18-md-02843-VC           Document 1145-2         Filed 07/11/23      Page 4 of 88



 1   General of the United States (“CAFA Notice”). A true and accurate copy of the CAFA Notice is

 2   attached hereto as Exhibit A.
 3   7.     On January 6, 2023, Angeion, on behalf of Defendant, sent an update on the CAFA Notice to
 4   the Attorney Generals of all states and territories, as well as the Attorney General of the United States.

 5   A true and accurate copy of the CAFA Notice update is attached hereto as Exhibit B.

 6                                             DIRECT NOTICE

 7   Platform / In-App Notification

 8   8.     Angeion has been made aware by Counsel for Defendant that the in-app notice campaign was

 9   completed.

10                                              MEDIA NOTICE

11   9.     Angeion implemented a comprehensive media notice program designed to deliver an

12   approximate 92.44% reach with an average frequency of 3.00 times—i.e., 92.44% of Target Audience

13   would see an advertisement concerning the Settlement an average of 3.00 times each. See Notice Plan

14   Declaration ¶ 13. The media notice program ultimately exceeded these expectations by delivering a

15   93.43% reach with an average frequency of 3.16 times. The 93.43% reach was achieved via

16   programmatic display advertising, social media advertising, the paid search campaign and publication
17   efforts (discussed below), and is separate and apart from, and in addition to, the in-app notices sent by

18   Defendant, the earned media, claim stimulation efforts, the settlement website, or the toll-free hotline,

19   all of which are difficult to measure in terms of reach percentage.

20   10.    To our knowledge, the notification program undertaken in this matter is one of the largest,

21   most voluminous, and most advanced notice effort ever undertaken. This notice program utilized

22   advanced digital and social media tactics and targeting, including the use of paid and organic

23   influencers, direct in-app notice, traditional publication notice, as well as advanced media monitoring

24   and garnered millions of dollars of earned media from national, regional and local press. As outlined

25   below, the number of claim form submissions is likely to be among the most submissions ever received

26   in a class action settlement.
27   Programmatic Display Advertising
28   11.    Beginning on April 12, 2023, Angeion ran digital banner ads for 60 days on desktop and mobile


                              DECLARATION OF STEVEN WEISBROT
     Case 3:18-md-02843-VC          Document 1145-2         Filed 07/11/23      Page 5 of 88



 1   devices to reach the most qualified audience on the websites where Class Members were likely to shop

 2   and browse1. Angeion’s media team used data from 2022 comScore Multi-Platform/MRI Simmons

 3   USA Fusion to develop a profile of the Settlement Class and arrive at an appropriate Target Audience

 4   based on criteria pertinent to this Settlement. See Notice Plan Declaration ¶ 19.

 5   12.    Class Members who saw the ads were able to click on the ads to be transferred directly to the

 6   Settlement Website. Copies of the banner ads are attached hereto as Exhibit C.

 7   13.    The online banner ad program resulted in 521,626,755 impressions served and resulted in

 8   519,049 click throughs to the Settlement Website. An additional 30,299,047 impressions directed at

 9   the parents/guardians of Class Members between the ages of 13-18 years old were served and resulted

10   in 25,606 click throughs to the Settlement Website.

11   Social Media

12   14.    Beginning on April 13, 2023, Angeion ran social media ads on Facebook, Instagram, Reddit,

13   Twitter and TikTok. The social media campaign ran for 60 days. The social media campaign used an

14   interest-based approach which focused on the interests that users exhibit while on these social media

15   platforms.

16   15.    Class Members who saw the ads were able to click on the ads to be transferred directly to the
17   Settlement Website. Copies of the social media ads are attached hereto as Exhibit D.
18   16.    The social media ad program resulted in 190,431,335 impressions served and 170,799 click
19   throughs to the Settlement Website. An additional 25,727,616 impressions directed at the

20   parents/guardians of Class Members between the ages of 13-18 years old were served and resulted in
21   12,451 click throughs to the Settlement Website.

22   17.    Combined, the programmatic display advertising and social media notice efforts resulted in

23   712,058,090 impressions served to the Target Audience, exceeding Angeion’s original estimate of

24   577,000,000 impressions. An additional 56,026,663 impressions served were directed at the

25
     1
26     Examples of the websites that the digital ads ran on include www.dailymotion.com,
     www.usatoday.com, www.spotify.com, www.nypost.com, www.yahoo.com, www.detroitnews.com,
27   weather.com, www.huffpost.com, www.msn.com, www.ebay.com, www.accuweather.com,
     www.espn.com,     www.flightaware.com,   www.outlook.live.com,    www.foxbusiness.com,
28   www.finance.yahoo.com, www.forbes.com, www.cbsnews.com, www.businessinsider.com,
     www.nydailynews.com, and www.cnn.com.

                             DECLARATION OF STEVEN WEISBROT
     Case 3:18-md-02843-VC           Document 1145-2        Filed 07/11/23     Page 6 of 88



 1   parents/guardians of potential Class Members.

 2   Paid Search Campaign
 3   18.      Beginning on April 12, 2023, Angeion ran a paid search campaign on Google to help drive

 4   Settlement Class Members who are actively searching for information about the Settlement to the

 5   dedicated Settlement Website.

 6   19.      The paid search campaign resulted in 493,010 impressions and 193,306 click throughs.

 7   20.      An example of the paid search posting is attached hereto as Exhibit E.

 8                                          PUBLICATION NOTICE

 9   21.      Angeion caused the Published Notice of the Settlement to be published in People Magazine

10   and USA Today. A one-half page black and white ad was published in the May 5, 2023 national edition

11   of People Magazine and ran in both the print and digital edition2. Additionally, a one-quarter page

12   black and white ad was published in the April 13, 2023 national edition of USA Today. The chart

13   below illustrates the circulation and total audience size for People and USA Today.

14                               Publication         Circulation     Total Audience
15                                 People            2.5 million       24.6 million
16
                                 USA Today            674,000          11.8 million
17

18   22.      Copies of the tear sheets showing the Published Notice in People Magazine and USA Today

19   are attached hereto as Exhibit F and Exhibit G respectively.

20                                 CLAIMS STIMULATION PROGRAM

21   23.      In addition to the above-described notice efforts, beginning on April 12, 2023, Angeion

22   implemented a Claims Stimulation package.

23   Sponsored Class Action Website Listings

24   24.      Angeion caused listings to be posted on two leading class action settlement websites,

25   www.topclassactions.com and www.classsaction.org. These listings resulted in 97,924 click throughs

26   to the Settlement Website. Copies of the listings are attached hereto as Exhibit H.

27   Active Listening

28
     2
         The May 5, 2023 national edition of People Magazine was on sale beginning on April 28, 2023.

                              DECLARATION OF STEVEN WEISBROT
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 1   25.      Angeion commenced active listening on Facebook, Instagram, Twitter, TikTok and Reddit,

 2   where traffic on these social media platforms was monitored by Angeion for discussion of the
 3   Settlement. Where appropriate, Angeion responded by directing Class Members to the Settlement

 4   Website where Class Members can view answers to frequently asked questions about the Settlement,

 5   including important dates and deadlines.

 6   Legal Influencer

 7   26.      Angeion caused a video to be distributed by Law by Mike, a social media legal influencer, via

 8   Facebook, Instagram, YouTube, and TikTok to further diffuse news of the Settlement. As of July 10,

 9   2023, this video has had a total of 6,665,289 views across these platforms.

10   Media Monitoring

11   27.      Members of our media team used advanced software to garner the impact of the earned media

12   in this Settlement. Through that software it was determined that the Settlement has received

13   approximately 110,000,000 coverage views, 284,000 engagements3 and 2.93 billion in online

14   readership. In practice, this means that combined, approximately 2.93 billion people visited the online

15   websites where the Settlement received coverage, but since not everyone who visits a particular

16   website reviews the specific coverage at issue, it was estimated that 110 million users reviewed the
17   3,720 pieces of coverage. Attached hereto as Exhibit I is a summary of the earned media garnered, as

18   well as highlights of the earned media.

19                  SETTLEMENT WEBSITE & TOLL-FREE TELEPHONE SUPPORT

20   28.      On or about April 12, 2023, Angeion established the following website devoted to this
21   Settlement: www.FacebookUserPrivacySettlement.com (“Settlement Website”). The Settlement

22   Website contains general information about the Settlement, including answers to frequently asked

23   questions and important dates and deadlines pertinent to this matter. The Frequently Asked Questions

24   page was updated to provide greater clarity throughout the settlement administration process. Visitors

25   to the Settlement Website can download the (1) Long-Form Notice, (2) Claim Form, (3) Opt-Out

26   Form, (4) Objection Form, (5) Preliminary Approval Order, (6) Settlement Agreement, (7) Second
27   Amended Consolidated, (8) Plan of Allocation, and (9) Plaintiffs’ Motion for Attorneys’ Fees,
28
     3
         Engagements represent the combined total of likes, comments and shares on social media platforms.

                               DECLARATION OF STEVEN WEISBROT
     Case 3:18-md-02843-VC          Document 1145-2         Filed 07/11/23      Page 8 of 88



 1   Expenses, and Service Awards, and the declaration and expert reports supporting that motion.

 2   Settlement Class Members are also able to submit a Claim Form or a request to be excluded from the
 3   Settlement through the Settlement Website.

 4   29.      The Settlement Website also has a “Contact Us” page whereby Settlement Class Members can

 5   send an email with any additional questions to a dedicated email address and a chatbot option to

 6   streamline responses to questions. The chatbot assisted users in real time and guided them with topics

 7   on frequently asked questions while users were also able to input their own inquiry. 1,955,596 visitors

 8   to the website engaged with the chatbot.

 9   30.      The Settlement Website (including the Long Form Notice, Claim Form, Opt-out Form and

10   Objection Form) is available in both English and Spanish. As of July 10, 2023, Angeion has received

11   and answered 145,661 email inquiries. These inquiries consist of various questions related to the

12   Settlement.

13   31.      Copies of the Long Form Notice, Claim Form4, Opt-out Form and Objection Form are attached

14   hereto as Exhibit J, Exhibit K, Exhibit L and Exhibit M respectively.

15   32.      The Settlement Website was designed to meet Level AA conformance in the Web Content

16   Accessibility Guidelines (“WCAG”)5.
17   33.      On May 18 and May 19, 2023, the Notice Re: Amendment of Claim Form and Amended Claim

18   Form were filed with the Court (See Dkts 1134 and 1136). Angeion updated the Settlement Website’s

19   electronic and hard copy Claim Forms, to allow claimants, as already contemplated by the Settlement,

20   to indicate that that they had activated but later deleted an account and subsequently activated another

21   account during the class period. A copy of the revised Claim Form is attached hereto as Exhibit N.

22   34.      From May 17 through May 23, 2023, Angeion sent email notices to 14,451,080 Claimants that

23   had already filed a Claim Form and advised them of the amended Claim Form, providing them the

24   opportunity to go back to their original form and revise it, if necessary. Detailed instructions on how

25   to access and edit their existing claim were provided to make this a simple process. Angeion responded

26   to any inquiries received from Class Members in response to this Email Notice. A copy of the Email
27

28   4
         This Claim Form (Exhibit K) was the original Claim Form posted prior to Amendment of Claim.
     5
         Refer to https://www.w3.org/TR/WCAG21/.

                              DECLARATION OF STEVEN WEISBROT
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 1   Notice is attached hereto as Exhibit O.

 2   35.    After dissemination of this Email Notice, 271,969 Class Members who were sent the Email
 3   Notice updated their Claim Form.

 4   36.    Though July 10, 2023, the Settlement Website has had 53,439,963 unique visitors6 and

 5   80,736,712 page views.

 6   37.    On or about April 12, 2023, Angeion established the following toll-free hotline devoted to this

 7   case: 1-855-556-2233. The toll-free hotline utilizes an interactive voice response (“IVR”) system to

 8   provide Settlement Class Members with responses to frequently asked questions, the ability to request

 9   a Claim Form or Long Form Notice be mailed to them and provides essential information regarding

10   the Settlement. This hotline is accessible 24 hours a day, 7 days a week, and is available in English

11   and Spanish.

12   38.    Through July 10, 2023, the toll-free line has received approximately 29,062 calls, totaling

13   137,250 minutes. 2,559 Class Members left a voicemail for the Settlement Administrator requesting a

14   copy of the Long Form Notice and/or Claim Form to be mailed to them. Accordingly, Angeion has

15   fulfilled these requests for Long Form Notices and/or Claim Forms.

16                                      CLAIMS ADMINISTRATION
17   Claim Form Submissions

18   39.    The deadline for Class Members to submit a claim is August 25, 2023. As of July 10, 2023,

19   Angeion received a total of 15,835,711 Claim Form submissions (15,818,309 online submissions and

20   17,402 submissions by mail).
21   40.    Angeion performed an initial preliminary review of the 15,754,373 online claims received by

22   July 9, 2023 and identified 960,313 claims as duplicative of another claim submitted. The remaining

23   claims are still subject to final auditing, including a full assessment of each claim’s validity and a

24   review for additional duplicative and/or fraudulent claim submissions. The above figures will

25   therefore likely change between the date of this declaration and the date of the final fairness hearing.

26   Angeion will provide the Parties and the Court with a report and subsequent declaration regarding the
27
     6
       Google Analytics creates a unique ID, stored in a browser’s cookies, which is used to determine the
28   number of unique visitors to a website. Unique visitors represent how many of these unique IDs access
     the Settlement Website.

                              DECLARATION OF STEVEN WEISBROT
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 1   total number of valid claims it received after the deadline has passed.

 2   Requests For Exclusion

 3   41.      The deadline for Class Members to request exclusion from the Settlement is July 26, 2023. As

 4   of July 10, 2023, Angeion has received 20,431 requests for exclusion.7 Angeion has performed a

 5   preliminary deduplication of the exclusion requests received and has identified that 19,514 unique

 6   Class Members have submitted an exclusion request. These submissions are still subject to final

 7   auditing, including a full assessment of each exclusion request’s validity and a review for duplicative

 8   and/or fraudulent submissions. Angeion will provide the Parties and the Court with a report and

 9   subsequent declaration regarding the total number of valid exclusion requests it received after the

10   deadline has passed.

11                                               CONCLUSION

12   42.      It is my opinion that the Notice Program described herein met the requirements of due process,
13   Fed. R. Civ. P. 23 and the Northern District’s Procedural Guidance for Class Action Settlements,
14   provided the best notice that was practicable under the circumstances, and incorporated contemporary
15   media and best practices to alert and engage the participation of Class Members in the proposed

16   Settlement. Moreover, in my experience, the claims filing volume in this case far exceeds other privacy
17   settlements and is truly exceptional. By utilizing an innovative notice program and a tech-forward,

18   streamlined administrative process, the entire process reached a very high percentage of the estimated

19   Class, made it easy on claimants to exercise their rights, and resulted in a very high percentage of the
20   estimated Class having filed claims.
21            I hereby declare under penalty of perjury that the foregoing is true and correct.
22   Dated: July 11, 2023

23                                                                         ____________________
                                                                            ___
                                                                             _ __
                                                                                _ __
                                                                                  _ _________
                                                                                           ___
                                                                           STEVEN
                                                                            TEVEN WEISBROT
                                                                                     WEISBRO
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         The exclusions received have not been deduplicated against the claims received.

                               DECLARATION OF STEVEN WEISBROT
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                        Exhibit A
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                                                                       1650 Arch Street, Suite 2210
                                                                            Philadelphia, PA 19103
                                                                           www.angeiongroup.com
                                                                                    215.563.4116 (P)
                                                                                    215.525.0209 (F)




December 30, 2022


VIA USPS PRIORITY MAIL EXPRESS

United States Attorney General &
Appropriate Officials


Re:      Notice of Class Action Settlement Under 28 U.S.C. § 1715:
         In re: Facebook, Inc. Consumer Privacy User Profile Litigation., No. 3:18-md-02843-VC
         (N.D. Cal.)


To Whom It May Concern:

Angeion Group, an independent claim administrator, on behalf of Meta Platforms, Inc., the defendant in
the above-referenced matter pending in the United States District Court for the Northern District of
California before the Honorable Vince Chhabria, and in compliance with the Class Action Fairness Act
of 2005 (“CAFA”), 28 U.S.C. § 1715, hereby serves you with notice that a proposed settlement of this
action has been filed with the Court. A copy of this Notice is being provided concurrently to the Attorney
General of the United States and the Attorneys General of every state, the District of Columbia, Puerto
Rico, and every U.S. territory.

The consolidated putative nationwide class action lawsuit alleges that Facebook (now Meta) shared or
otherwise made accessible to third parties (including but not limited to third-party developers, whitelisted
parties, business partners, advertisers, and data brokers) user data and data about users’ friends, and did
not sufficiently monitor and enforce third-party access to such data. Meta strongly disputes those claims,
but it has agreed to settle this lawsuit to avoid the expenses, uncertainties, distractions, and other risks
inherent in further litigation. The proposed settlement class consists of all Facebook users in the United
States between May 24, 2007 and December 16, 2022, inclusive.

Notice and Enclosed Copies of Settlement Materials

As required by 28 U.S.C. § 1715(b), we have enclosed a CD containing the following materials relating
to the proposed settlement:

      1. A copy of all complaints, including amended complaints, and the materials filed with these
         complaints;

      2. The rulings on Meta’s motions to dismiss;
         Case 3:18-md-02843-VC        Document 1145-2        Filed 07/11/23      Page 13 of 88

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Page 2


   3. The motion for preliminary approval of class action settlement, filed on December 22, 2022;

   4. The Settlement Agreement, filed on December 22, 2022;

   5. The proposed preliminary approval order, attached as Exhibit A to the Settlement Agreement,
      filed on December 22, 2022;

   6. The proposed settlement administration protocol and notice plan, attached as Exhibit B to the
      Settlement Agreement, filed on December 22, 2022

   7. The proposed summary and long-form notices to settlement class members advising them of their
      right to request exclusion from the settlement and the details of the proposed settlement of the
      class action, attached as Exhibits C and D, respectively, to the Settlement Agreement, filed on
      December 22, 2022;

   8. The proposed in-application notice to settlement class members, informing them of the proposed
      settlement of the class action and providing a link to the Settlement Website with further details
      of the proposed settlement of the class action, attached as Exhibit E to the Settlement Agreement,
      filed on December 22, 2022

   9. The proposed claim form, attached as Exhibit F to the Settlement Agreement, filed on December
      22;

   10. The proposed final approval order and final judgment, attached as Exhibits G and H, respectively,
       to the Settlement Agreement, filed on December 22, 2022;

   11. The Escrow Agreement, filed on December 22, 2022;

   12. Defendant’s explanation as to why the reasonable estimate of the number of settlement class
       members residing in each State as described at 28 U.S.C. § 1715(b)(7), cannot be provided; and

   13. Defendant’s estimated proportionate share of recovery by State, pursuant to 28 U.S.C.
       § 1715(b)(7).

Any materials relating to the proposed settlement filed after service of this Notice can be found by
visiting the “CM/ECF” online docket for the above-captioned case at https://ecf.cand.uscourts.gov/cgi-
bin/login.pl.

Other Agreements

Pursuant to 28 U.S.C. § 1715(b)(5), there is no “settlement or other agreement contemporaneously made
between class counsel and counsel for” Defendant, other than the Settlement Agreement and all
attachments thereto.

Hearing Dates

Plaintiffs filed their Motion for Preliminary Approval of Class Action Settlement on December 16, 2022,
and requested that Motion be heard on February 16, at 1:00 p.m. Pacific. The final approval hearing
         Case 3:18-md-02843-VC         Document 1145-2         Filed 07/11/23     Page 14 of 88

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Page 3


remains to be scheduled by the Court. The most up-to-date information for both hearings may be found
by     visiting   the “CM/ECF”          online docket     for   the above-captioned        case at
https://ecf.cand.uscourts.gov/cgi-bin/login.pl .

Written Judicial Opinions

Pursuant to 28 U.S.C. § 1715(b)(8), there are no written judicial opinions relating to the proposed notice
to the class, the preliminary or final approval of the settlement, or the other matters discussed in 28
U.S.C. § 1715(b)(3)–(6). The enclosed CD contains copies of the proposed preliminary approval order,
as well as other orders in the case relating to pretrial motions.




Please do not hesitate to contact us with any questions you may have regarding these materials.


                                                             Sincerely,

                                                             Angeion Group
                                                             1650 Arch Street, Suite 2210
                                                             Philadelphia, PA 19103
                                                             (p) 215-563-4116
                                                             (f) 215-563-8839

Enclosures
cc: Attached Service List
         Case 3:18-md-02843-VC        Document 1145-2         Filed 07/11/23     Page 15 of 88

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Page 4


                                          Service List
                    In re: Facebook, Inc. Consumer Privacy User Profile Litigation
                                 No. 3:18-md-02843-VC (N.D. Cal.)

                                           The Court
                                 The Honorable Vince Chhabria
                   U.S. District Court for the Northern District of California
                     San Francisco Courthouse, Courtroom 4, 17th Floor
                                   4500 Golden Gate Avenue
                                   San Francisco, CA 94102

                                      Plaintiffs’ Counsel

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                 Anne K. Davis                             Cari Campen Laufenberg
              Matthew S. Melame                                    David Ko
              Angelica M. Ornelas                              Adele A. Daniel
                Joshua D. Samra                                Benjamin Gould
          Bleichmar Fonti & Auld LLP                         Keller Rohrback LLP
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                                                          801 Garden Street, Suite 301
                                                           Santa Barbara, CA 93101

                                                                 Eric Fierro
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                                                    3101 North Central Avenue, Suite 1400
                                                             Phoenix, AZ 85012

                                     Defendant’s Counsel

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       Washington, DC 20036-5306                         333 South Grand Avenue
                                                       Los Angeles, CA 90071-3197
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                        Exhibit B
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                                                                    1650 Arch Street, Suite 2210
                                                                         Philadelphia, PA 19103
                                                                        www.angeiongroup.com
                                                                                 215.563.4116 (P)
                                                                                 215.525.0209 (F)




January 6, 2023


VIA USPS PRIORITY MAIL EXPRESS


United States Attorney General &
Appropriate Officials


Re:       Update to December 30, 2022 Notice of Class Action Settlement Under 28 U.S.C. § 1715:
          In re: Facebook, Inc. Consumer Privacy User Profile Litigation, No. 3:18-md-02843-VC
          (N.D. Cal.)

To Whom It May Concern:

Angeion Group, on behalf of Meta Platforms, Inc., writes to correct the following dates contained in the
notice served on December 30, 2022.

      x   The proposed settlement class consists of all Facebook users in the United States between May
          24, 2007 and December 22, 2022, inclusive.

      x   Plaintiffs filed their Motion for Preliminary Approval of Class Action Settlement on December
          22, 2022, which will be heard on March 2, 2023, at 10:00 a.m. Pacific.

Please do not hesitate to contact us with any questions you may have regarding this notice.

                                                            Sincerely,

                                                            Angeion Group

Enclosures
cc: Attached Service List
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                                          Service List
                   In re: Facebook, Inc. Consumer Privacy User Profile Litigation
                                No. 3:18-md-02843-VC (N.D. Cal.)

                                           The Court
                                 The Honorable Vince Chhabria
                   U.S. District Court for the Northern District of California
                     San Francisco Courthouse, Courtroom 4, 17th Floor
                                   4500 Golden Gate Avenue
                                   San Francisco, CA 94102

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                        Exhibit C
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                        Exhibit D
Case 3:18-md-02843-VC      Document 1145-2    Filed 07/11/23   Page 28 of 88




     A     Angeion Group                                          •••
     -     Sponsored · 0
     If you used Facebook between May 24, 2007 and December 22, 2022,
     a Class Action Settlement may affect your rights.




     FACEBOOKUSERPRIVACYSETTLEMENT.COM
     Facebook Consumer Privacy User Profile               Learn more
     Litigation
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      A     Angeion Group                                          ...
      -     Sponsored · 0
      If you used Facebook between May 24, 2007 and December 22, 2022,
      a Class Action Settlement may affect your rights.




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      Facebook Consumer Privacy User Profile               Learn more
      litigation
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           Angeion Group
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     -If you used Facebook between May 24, 2007 and December 22, 2022,
     a Class Action Settlement may affect your rights.




     FACEBOOKUSERPRIVACYSETTLEMENT.COM
     Facebook Consumer Privacy User Profile               Learn more
     Litigation
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              Ii you used Facebook between May 24, 2007
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              Privacy User Profile...
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               If you used Facebook between May 24, 2007
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                Facebook Consumer                Learn more
                Privacy User Profile...
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               A        Angeion Group                  •..   X
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               If you used Facebook between May 24, 2007
               and December 22, 2022, a Class Action
               Settlement may affect your rights.




                facebookuserprivacysettleme ...
                Facebook Consumer                 Learn more
                Privacy User Profile...
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                        Exhibit E
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                        Exhibit F
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                                  |şÔĔEş\E¥»Şş
                                                              Τ‫ދࣶ܊‬চͅա‫ތ‬চ̀ưǙ‫܋‬Ɛǉচ
                                     _}*keş                  ̧԰চওচϚচϛচăGࣉŻԋٓ8‫ࡱڛ‬চˮЉࠎࠏচ̸ٔУচϜ҃চǲ‫ࣷ܌‬চ҄9চƏ¾ࡲբՃচॺ¿ࣸƼচ‫׆‬գࣁচूַ‫ۉ‬চФচԶ6Wȩচ
                               i¿ß?ß@ß             ()҅চΎচृٕচ‫ڜ‬ƨࡳচޭ$Ŗ‫ד‬,চϝচ͸ŗ࣊‫ٖ؞‬Ł‫ڝ‬Nচ‫ݘ‬ϞRٗӜ¹ǝ চॻƠࣹচĶ‫ܭ‬চ)dkচॄ !ࡴচࢾচХӝচ‫ؠ‬ĜؓRচģ‫ࣺ܍‬ƊĲচЦॼচ
                              6ßyyÔßjAy6ß7ß         ࢰচ͹Oࢸ٘‫'ڞ‬ȴচnܹऔচٙࠐࡵচॡѠ>চॽ͂߉ԡচ¤Ʀٚচ֣চЧǴচƟ‫ ݙ‬ՄচmࡶচΉդচ 5‫׶‬%‫ڟ‬চ܎চӞǰѡखচ
                                kyÕßylß­º ßmß          ঑ܸ>ƹM¢চ&চ̨ÑŷॾচʋʨȪচë?vð চ
                              ßB®ÖYnZß0a ¡C¢ß
                                                              Θ)‫[׷‬ǐࠑচΦ̓চॢ$‫҆ࣻ׸‬ӟচǸdࣼ߇ӠঘɊচ঒ࣽচॅ¨‫׹‬চŤ֤णӡচࣾ‫ݚ‬চϟ¸Ƕচ ޲HࡷচࡸdচǑࣿFচw($Ŗ݆‫ן‬চШϠࠒӢĳচJ!চkũZচ
                                !-Ä»ßVÅ£ßT¥o@6¯ß           Ԙ চϡ‫ی‬চԵѯऒচ‫ ࠹׏‬চPŬЄচࠓচͺ࣋‫؟‬ٛřƑচ&‫ئܮ‬ɋচ1Ԣচǵ;ऀচӣǱXÒĴ7চॿƙँߊ£চঀ:ÓচіƋcËচ
                               -°@°±D8ßÍp¼bßß             ՅPচϢচƱ ঁٜӤºǟচ¤ܷٝচ§&চ"Îӥٞ࢙ɓচ
                                ¤"9×ß 
                                                              ԱԲচǷ܏Qচǅ‫ؚ‬Rচü)চ=եচͻӦǤ,ٟӧ!ࡹচȊ٠EČ‫ڡ¨ڠ‬Նচ=Ū Ÿচং‫ܐ‬ǥচ҇Jচ‫ࡺے‬চॣя‫ؖ‬QıӨচঃܑं߈ө‫ؗ‬ȫচ঄̈́চſϣǸচdЩŰF$ࡻচ
                                                           ࡼ*চ ࡽզচ"OŘƀÊɌচ ˻ؕϤ চ˾࠳/ȅࠔচԣř চ D5চӪǱƮ‫ڢ‬ǒȬচ+0қ:চ Άߝ3 চ˒ॆ# চԤচ চ
                                                         ͼŘ'Ɓࡾচ˯¬ϥ iচ͜ ƱƷ ǠࢹतÄচ2অচ̩Òআচëʩoচʌæìñচ চՇ©ǬচϦ ‫ܒ‬Ƒ চԺচই:>‫ލ‬চV‫ה‬ӫщPִáচ
                                                              ĈŭŔচù¾ߐচॏ‫׺‬চѧ‫ۆ‬ǃ]ҚӬচঈ»Ðচथख़âচ Χbःচї‫ڣ‬ȁࡿচĘࠕ‫נ‬চࢶԊচö‫ܓ‬ऄߑচ‫ܔ׻‬চ¾fY‫ގ‬চđচ҈ׂŐƼӭࢀচͽőÍ^Ԛ
                                    n}}ßq[cØßÎ#²ß            ١,‫ڤ‬kʻচ=ũ,চ˰Ƣअߒচрϧ‫ڥ‬চƠ‫ڦ‬ǶচϨ‫ݛ‬À‫ܕޡ‬दচ‫ޏܖ‬চKԍŰӮ$࢚চࢁէŅচ;Śࢂ࣌ĸ٢,ƈ­ চ̤ԥচ‫׼‬ը,চ÷‫ܯ‬एߓচ҉‫ܗ‬Śhচ‫ࢃܘڧ‬চ(À‫޼ݤ‬धŗচ
                             ¯1!¥p$»E:ßT¦ß             È¥চͿࣖ٣7‫ڨ‬Ýচ‫ۓ‬চ"'٤ࢄচ‫ ݜ‬উƀ‫ࠖࢅک‬চ॔চ2চ&ƎPচơ‫׽‬চ#চ চ‫े؛‬ǌऐ.ǡচै.‫׾‬চ* ࢺ ãচ̥Ԧচ
                               dr¯ß?§W¥!2@Þ               ࢱϩࢆচ֥ࠗচॉЅࢇচÖơmচÕ‫ڪ‬চ‫ܙ‬চթĝƲ‫ ݝ‬ȭচÖIচi;आ‫׿‬Ҋচ*ЪȮXäচ
                            Æ6F¤³½%¾G7ß6Hys3&ºIzÙß
                                                              ̹Ƣޮচ ֦‫ګ‬š‫ސܚ‬٥ĕǞ‫ڬ׍‬চ ъІ‫ڭ‬চ ķচ ԧ݉!চ ‫׊‬চ ࢈նԇচ ̗LԌ‫ݪ‬इŕ‫إڮ‬এচ˛࠯űԖচ ͙ओԐ࠘ࢼ¸ǈচ Ϫ!ĳচ ˱‫؀‬Ќ࠙চ˓ѰƉচ
                                  Æ¤QÇz´ßß              "'٦ࢉচ˜‫ ٱ‬Êচ# চ͝ӯ‫ ؁‬#࠴Ýচॖ3շচ Dচनϫ.‫؂‬#г চচड़ ̘UсĤƣƤŲΙࠚӰ‫͕ޑ‬ǀÔϬɍচ
                              ¿J¡n}}Üßw}~ß¨t¿tµcß         ঊąӱ࣍Ӳ´`ǘɔƥ٧áচ 1£চ  ժऩচ īঙ‫½؃‬0চ‫ݫ‬ऑ%‫&گܛ‬ȯচঋƦচ ٨Ěঌচт:ࢊϭуÈচ࢜րচ"7ċƁ ࢋচ
                            4xËxzß¶?¬Ì!» ß          ˔ҋ٩‫֧ڰ‬Áěj‫ܜ‬ƻßচ

                                  `ē´3òĉÎş]Ï3Ģş               ĉի চ˲ƤÒߔȂࠛচ̙֨aĖ«চ˕‫ܝݟݞ‬ǫϮ«চyśC.aՈচ
                                  a~*lfTmş              ć চ˳ƧmচլĝÆচMыū ҌईŹӳҍচϯচû‫ۋ‬চ˝ƲƧपB؄চ̝ϰ‫ޱ‬Ջচচɲচʸ?æচ‫ ݠ‬² চĂ΀ĉচ‫ܞ‬aচ΁ ưࢩ´Ĥ‫ޒ‬চʭoচ
                                                              ʍɨʎʒȰচΊ Gচ ¡֩‫ڱ‬Չচॐ©խচe‫ܵޓ‬ў4চRচवҎG9চфbŢŜ‫ڲ‬ĨŜɎচ˖চ‫סڳ‬চࢿচࢌ 6চस¿চѨ·ŢӴ<œ‫ڴ‬ĨচǓচϱ؅চ
                             ek·ß\©Úß;È.UÊßeuÀß
                                                              ࢍHEচ ޻‫ڵ‬ƨॊ؆‫ۊ‬ՎচϲĶĪ‫ࠜޔ‬Ǒʹচծ࣎‫ࠝݡ‬ɳɖढ़q$(ƒҏãङѩQߕࠞ Ռܰफɗ̪QҗՍӵǐɘ$HHϳЫLؔTȸश‫݁ڶ‬ȹǪє চ͖ŀϴࠟEচ
                             k¸ßÀeKß·f'][Û8^ß­Áª×ß         3ոьųচচ"ÎŶƄ7‫ڷ‬Ìচ΢ġ&ࢎচ‫ܟ‬ԽŝচOcচѬţ޷চࢲচĴ'ȱচƂ\চЇƓҐচषҘ½চ‫ أ‬চ֪Դ‫ޕ‬٪Ë%ܳ‫ڸ‬ɏচ
                              Rß(ß9¡Ä_ <9{L=ß/M)¡ß          ˗࢏চŬ চ̚ ϵ؇চ˘Ƴ‫ޖݢ‬Ǭ϶চ̞Ј֫‫ێ‬Ȳচǡպ\চ˴>ߖচǯ؈চѪ ࠠ§‫ޗ‬চ॒ռ7 <চǠ¥চ΂ŝ࣏¬٫ ࢐চ֬ চԨ ‫ޘ‬চԎϷখ
                              gÄ`«ÜßX¦ßvÂ¶ß@ÓßSxÒ ß        ࠡ‫ܠ‬Ь؉Ùচė‫ڹ‬ґচϸĬԈ‫ݭ‬ÓĔࢪচϹ‫ۍ‬চॕ¡ŭ‫ޙ‬চ‫آ‬চϺeeƕबচֵ֭âচΌ ¡চùbߗচॗ‫ں‬চSźǄ¿চѫ‫ڻ‬Ǔ%YӶচो ԉ࢑կӷ‫ޚ‬চ
                               *ÝßN|OßÏv<ßÉß           ࢒‫ܡ‬চ‫ݣ‬ƬKJभŞচ˵Ēǔࠢচ ˶Jउƒࠣ×Ǐচ ޯ‫ݬ‬ऊӸࠤǚচԻKচ ϻ¶চTौޫচ ƞԩচϼࣙ޹ŞǳhȃচԪӹӺǍচϽ)Ғচӻ।‫ݧ‬ƅǋӼࠥØচϾǂচ
                                                              ्Κচ+ࠦচࢳচ΃؊ࢻ ٬‫ڼ‬চ˷ࠧࠨচ ͞ƳŊg‫࢓ڽ‬%मࠩগচ "ߞ]њচ˙॑ЋMäচ 1ԫচ‫ޛ‬চƽচ‫ܢ‬ЭʽX;‫ۇ‬Äচ
                            5y+ÐP7ß ÆyK>ß,6ß7G"6ß          ࢴচ˸‫ܣ‬Ó<চǮŷচħƜ‫ھ‬চࢷ‫٭‬ɐচ
                             mßÃhGßÑ6¹ ß  
                                                              Ćհ^Ǌচ̿‫ܤ‬l^ћচ1ǕচƩ‫ڿ‬঍চϿচǕǩµ‫ߠٳ‬ɑচxƪ‫ޜ‬চƃƩƾӽচғňࢧ֮/ŎҔচ̦‫ۀ‬Ԭ‫ܥ‬ƿƃĞl^‫ہܦ‬চĞĥ‫ܧ‬ऋlচÉŨŏচ΄ӾÏӿ‫ٮ‬Ԁ‫ۂ‬lʺচ
                                                                 ĂЍ চэC/¬চ@ÞʱʠòȺʡʢʪȻvvðʓচƥƶচयࠪůǢচफ़ xЀќЮƣ‫ܨ‬ŲΛࠫş‫ޝ‬ĀǀÔ঎΅ş࣐Ż‫ٯ‬ԁ‫ۃ‬Ǣɕх݄চ
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                        Exhibit G
Case 3:18-md-02843-VC
                                                                     Document 1145-2                                                          Filed 07/11/23                                   Page 40 of 88
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        $0- ! $7=: )667=6+-, 1<; .)44           0)6,-,7=<<7<0-?166-:;7.<0-;->-6                #14>-:),7"-;7:<16)8))41.7:61)                                   ;4)6,74.4=*16-7:/1)
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    .7:-G?1<08=:;-;<7<)416/  5144176           6)5-6< 7. 0)58176; $0-:- ?144 *-                   +<    #0:16-:; 014,:-6E;                                   7>  -+   -:7 &7:4, 0)4
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    <0:7=/07>-5*-:?1<0)*:-)3.7:<0-              /1*141<A <7 8):<1+18)<- 16 $0- !4)A-:;               +< 7> &7:4,&1,-$-+0                                     -+    ! 0)58176;018 :
    "A,-:=8                                        0)58176;018                                        6747/A0)58176;01816-@1+7                                         4)6,747:1,)




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                                                                                                                                                    *<. 8  6-  '
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                                     -6+- $0- 7<0-: >-<-:)6; ):-
                                             -:)51:)6<=;=.=:31+)6,              4; 4  "9(2/8 ' 1'/2 '3* +8 ' '7. '<2+38
                                             =;<1+-&16;47?                           %1.;. *;. =1;.. @*B< =8 <>+62= * 5*26 8;6 2;<= * 5*26 8;6 6*B +. <>+62==.- 87527. *= ;;;')+(440$7+6 6/:')<"+881+2+38)42 (<
                                                                                           52 # 43 9-978    $.,87- * 5*26 8;6 6*B +. 9;27=.- /;86 =1. $.==5.6.7= (.+<2=. *7- 6*25.- =8 =1. $.==5.6.7= -6272<
       !7:<4)6, $:)14 4)B-:; ;<):            F$0- /7)4 1; <7 /-< *-<<-: );     =;*=8; *= *,.+884 87<>6.; !;2?*,B &<.; !;8F5. 2=20*=287 ,8 $.==5.6.7= -6272<=;*=8;   ;,1 $=;..= $>2=.  !125*-.5912* !  
    )51)6144):,?)6<;<7;--:-          ;776);87;;1*4-G$:)144)B-:;            98<=6*;4.- +B 9-978    %12;- B8> 6*B *5<8 ,87=*,= =1. $.==5.6.7= -6272<=;*=8; =8 ;.:>.<= * 5*26 8;6 +B =.5.9187.            
    ;=4<;                                  /-6-:)4 5)6)/-: :7616 ;)1,             +B .6*25 27/8*,.+884&<.;!;2?*,B$.==5.6.7=,86 8; +B &$ 6*25 *= *,.+884 87<>6.; !;2?*,B &<.; !;8F5. 2=20*=287 ,8 $.==5.6.7= -627
       144):, :-+7551<<-, <7 <0-         F$0-81+31<;-4.?-E44;--?0-:-           2<=;*=8;   ;,1 $=;..= $>2=.    !125*-.5912* !    =1. ,8695.=.- 5*26 8;6 6><= +. 98<=6*;4.- +B 9-978   
    $:)144)B-:;?0-60-;1/6-,)           1<4)6,;&-E44;--?0)<1<;>)4=-          4  ':+ ' ';<+6 /3 8.+ '7+
    <?7A-):  5144176 -@<-6         1;'7=0)>-<7/7<0:7=/0<0)<             %1. 8>;= 1*< *99827=.- .;.4 ( 8.<.; 8/ .55.; #81;+*,4 ! *7- .<5.B  (.*?.; 8/ 5.2,16*; 87=2  >5- ! =8 ;.9;.<.7= =1. $.=
    ;176 4);< 7C;-);76 7?->-:          ?074- 8:7+-;; 316, 7. 413- ?-         =5.6.7= 5*<< *< 5*<< 8>7<.5
    0-67?.)+-;<0-:-)41<A7.)6          ,1,4);<A-):?1<0<0-81+3
                                                                                         &496 8.+6 58/437
    7<0-: 87<-6<1)4 :-*=14, )6,              F=<<15-416-?1;-1<E;<15-
                                                                                         / B8> *;. * $.==5.6.7= 5*<< .6+.; *7- B8> -8 78=1270 B8>; ;201=< @255 +. *//.,=.- *7- B8> @255 78= ;.,.2?. * $.==5.6.7= 9*B6.7= / B8> -8
    0-E;67<16<-:-;<-,                     .7: =; <7 ;<):< 57>16/ 9=1+3-:         78= @*7= =8 +. 5.0*55B +8>7- +B =1. $.==5.6.7= B8> 6><= .A,5>-. B8>;<.5/ /;86 2= +B 89=270 8>= %1. -.*-527. =8 .A,5>-. B8>;<.5/ 2< 91<   
       F,76E<0)>-5=+07.)6)8          <7?):,; 0)>16/ ) :7;<-: <0)<E;
    8-<1<-.7:*:16/16/16/=A;<?7          :-),A<7+758-<-)<<0-01/0-;<             &75.<< B8> .A,5>-. B8>;<.5/ B8> @255 02?. >9 *7B ;201= =8 <>. *,.+884 +*<.- 87 =1. 5.0*5 *7- /*,=>*5 2<<>.< =1*= =12< $.==5.6.7= ;.<85?.< / B8>
    )6,<0:--A-):;)?)A.:75:-)4          4->-4 #7 1. <0)< 5-)6; =;16/         .A,5>-. B8>;<.5/ B8> ,*778= 0.= * 9*B6.7= /;86 =12< $.==5.6.7=
    4A/716/).<-:1<G144):,<74,:-     <0)< 81+3 7: 7<0-: 81+3; 16            / B8> <=*B 27 =1. $.==5.6.7= 6.*7270 =1*= B8> -8 78= .A,5>-. B8>;<.5/ B8> 6*B 8+3.,= =8 =1. $.==5.6.7= 5*<< 8>7<.5E< /..< *7- .A9.7<.<
    87:<-:; ,=:16/ -@1< 16<-:>1-?;        ,-)4;?0-:-1<E;/-<<16/)//:-;           *7-8; $.;?2,. @*;-< /8; =1. $.==5.6.7= 5*<< #.9;.<.7=*=2?.< +B 91<   *7- 02?. ;.*<87< /8; B8>; 8+3.,=287 %1. 8>;= @255 ,87<2-.;
    ).<-: ) ;-);76-6,16/ 47;; <7        ;1>-<7/7/-<;<=C,76-A-)0             B8>; ?2.@< )8> ,*7E= *<4 =1. 8>;= =8 8;-.; * -2//.;.7= $.==5.6.7= =1. 8>;= ,*7 875B *99;8?. 8; ;.3.,= =1. $.==5.6.7= / =1. 8>;= -8.< 78= *9
    74,-6#<)<-F$01;1;67<);-         ?-E:-78-6516,-,<7<0)<G                 9;8?. =1. $.==5.6.7= 78 $.==5.6.7= 9*B6.7=< @255 +. <.7= 8>= *7- =1. 5*@<>2= @255 ,87=27>. / =1*= 2< @1*= B8> @*7= =8 1*99.7 B8> <18>5- 8+3.,=
    +:-<?)6<)+0)6+-<7/7.7:1<          $0-$:)144)B-:;?14481+316          8;. 27/8;6*=287 ,*7 +. /8>7- 27 =1. ;.:>.7=5B <4.- ">.<=287< *7- 5*<< ,=287 $.==5.6.7= 0;..6.7= *7- #.5.*<. @12,1 *;. *?*25*+5. *=
    6, 1. <0- :7=<- 1; <7 ,7 <0)<   <0- 47<<-:A )6, 0)>- )67<0-:            ;;;')+(440$7+6 6/:')<"+881+2+38)42 / B8> 1*?. *--2=287*5 :>.<=287< B8> 6*B ,87=*,= =1. $.==5.6.7= -6272<=;*=8;
    <0-6<0)<E;67<5A:7=<-G               D:;<:7=6, ;-4-+<176 >1) <0-
       6 )6 ->-:+0)6/16/             -? '7:3 61+3; 7<0 81+3;             #.+ 4968=7 /3'1 5564:'1 +'6/3-
                                                                                         %1. 8>;= 1*< <,1.->5.- * 27*5 99;8?*5 .*;270 *=  52 "# 43 "+58+2(+6    %1. 1.*;270 @255 9;8,..- +B ?2-.8 ,87/.;.7,.  5274
    4)6,;+)8- 144):, 0); :-            ):-)+0)6+-<7),,.=<=:-<)4             =8 =1. ?2-.8 ,87/.;.7,. 2< *= =1. /8558@270 *--;.<< 1==9<@@@,*7-><,8>;=<08?3>-0.<,11*+;2*?27,.?, !5.*<. ,1.,4 =1. $.==5.6.7= (.+
    5)16-, 47A)4 <7 <0- $:)14 4)B     -6<.7:<0-476/0)=4                      <2=. 8/=.7 =8 ,87F;6 =1. -*=. =26. *7- ?2-.8 58027 27/8;6*=287 = =1. 27*5 99;8?*5 .*;270 =1. 8>;= @255 ,87<2-.; @1.=1.; =1. $.==5.6.7= 2< /*2;
    -:;7:/)61B)<176-0);;8-6<                                                       ;.*<87*+5. *7- *-.:>*=. *7- @1.=1.; =8 *99;8?. 2= %1. 8>;= @255 *5<8 ,87<2-.; @1.=1.; =8 *99;8?. 5*<< 8>7<.5E< ;.:>.<= /8; *7 *@*;- 8/ *=
    ;-);76;16!7:<4)6,)6,*=14<         ")"#' "                     =8;7.B<E /..< *7- .A9.7<.< *< @.55 *< =1. $.==5.6.7= 5*<< #.9;.<.7=*=2?.<E $.;?2,. @*;-< / =1.;. *;. 8+3.,=287< =1. 8>;= @255 ,87<2-.; =1.6
    )4-/)+A                                $""$                                            #./7 48/)+ /7 431< ' 7922'6< 46 246+ *+8'/1+* /3,462'8/43 '(498 8.+ "+881+2+38 1+'7+ )'11                       46
       $0-:- ?); ) ;<:16/ 7. -1/0<                                                                                               :/7/8 ;;;')+(440$7+6 6/:')<"+881+2+38)42
    +76;-+=<1>- 87;<;-);76 )8                !7:<4)6, 1; 67< 367?6 ); )
    8-):)6+-; 6  144):, 4-,      5)27: ,-;<16)<176 .7: .:--
    <0-$:)144)B-:;<7) :-+         )/-6<; $0- 7:/)61B)<176 <A81
    7:,)6,)&-;<-:676.-:-6+-             +)44A*=14,;<0:7=/0<0-,:).<7:                                                     &41 >534@? ;2 $&(  G$&(H @; 05?<8-E @41 /4-::18? 85?@10 .18;C 5: -8<4-.1@5/-8
    D6)4; *-:<0 - .7447?-, <0)<        ?1<0<:),-;                                                                         ;>01> 5: 'B1>?1 ->1 ?1@ @; 1D<5>1 )4581 $&( 4-? @41?1 >534@? 2;> 'B1>?1 @41?1 /4-::18? C588
    =8?1<001;01/0-;<;+7:16/7=<            $0-  <:),- 5):3-< .7:                                                       /;:@5:A1 @; .1 -B-58-.81 @; 'B1>?1 &( ?A.?/>5.1>? 2 >1-?;:-.81 -3>1191:@? /-::;@ .1 >1-/410
                                                                                                                                   C5@4 @41 <>;3>-991>? @41?1 /4-::18? C588 :; 8;:31> .1 -B-58-.81 ;: 'B1>?1 $&( -8?;
    8=<7. 8716<;8-:/)5-<01;         <78 ;<):; 16+4=,-; 5=4<184-                                                        9-E 9;052E @41?1 /4-::18 8;/-@5;:? .E 9;B5:3 @419 @; /4-::18? .1@C11:     
    ;-);76                                  D:;<:7=6, 81+3; )6, -41<-
       !7:<4)6,0);6E<.7447?-,14         A7=6/8:7;8-+<;                             !            
    4):,16<0)<8:7/:-;;176$0-7:           7: -@)584- <0- !07-61@             91>5/-? (-8A1 4-::18  -:0   1:@>;-91>5/- &(    5:18-@5:;    $(   -:0   &,4;:3 &5-:   
                                                                                        -FF81  -:0  -:0  -:0    "5:;E    ; @  -:0  -:0   ;@ AE   -:0                     -:0   -:0   -:0
    /)61B)<176 0); .)4<-:-, 16 <0-       #=6;/)>-=8A7=6/84)A-:;1              -:0   -:0   5            1C?       -:0      5:  01-  -:0   !!  -:0   A/7E  -:0   
    8);<.7=:;-);76;?1<0)             3)4:1,/-;)5-:76706;76               91>5/-        "-?5;:1?   "4;1:5D :2; 1C?    "4;1:5D ;>@4 91>5/- 45:1?1 4-::18    "* %<;>@?    %4;<#
    :-+7:, -A +76<:1*=<7:; 413-        )6, ) 5=4<1<=,- 7. D:;<:7=6,           -:0  5:  %4;<&(   -:0  -:0   -:0   %;:521 >;-0/-?@5:3 1@C;>7   -:0   %;:E :@1>@-5:91:@
                                                                                        &181B5?5;: ?5- %& ?5-    %<->7  -:0  -:0   %<1/@>A9 %<;>@? 1@  -:0  5:  %<1/@>A9 %<;>@? 1@
    144):,E; 476/<15- *)+3+7=:<           81+3;.7:->16=:)6<
                                                                                        8@1>:-@1  -:0  5:  %<1/@>A9 %<;>@? 1@   -:0  5:  %@5:3>-E     %@5:3>-E 0A8@ 8@1>:-@5B1   
    5)<-  +744=5 ?-:- :-              &144 !7:<4)6, ,7 <0- ;)5-           %@5:3>-E 8@ $;/7 8-??5/?    %@5:3>-E 8@;A:@>E 91>5/-:-    %@5:3>-E >-.5-: 534@?    %@5:3>-E ?5-: 5@?   
    84)+-, ?1<0 A7=6/ =68:7>-6           .7: )67<0-: ;<): <7 8=< )476/        %@5:3>-E 8A13>-??    %@5:3>-E ;88EC;;0 5@?    %@5:3>-E 8-??5/ $: -:0 %;A8   %@5:3>-E 8-??5/ $;/7   %@5:3>-E
    <)4-6<                                  ;1,-144):,                              8-??5/-8 :05-    %@5:3>-E ;A:@>E 8-??5/?    %@5:3>-E -:/1 8A..5:    %@5:3>-E -?E 5?@1:5:3    %@5:3>-E /81/@5/
                                                                                        81/@>;:5/    %@5:3>-E A>; 5@?    %@5:3>-E ->?5    %@5:3>-E 8-?4.-/7 ?    %@5:3>-E >-:/; ";<   %@5:3>-E
       $0-$:)144)B-:;):-67?)<             ++7:,16/<7#87<:)+144):,
                                                                                        >110;9    %@5:3>-E ;?<18   %@5:3>-E >1-@1?@ 5@?   %@5:3>-E >;;B1 5?/; -:0 A:7   %@5:3>-E A-:30;:3
    )+:7;;:7),;                            ?144 5)3-    5144176 6-@<               %@5:3>-E 1-BE 1@-8    %@5:3>-E 5:05 ;80    %@5:3>-E 5< ;<    %@5:3>-E 5@ 5?@   %@5:3>-E ;850-E 5@?
                                             ;-);76-+)65)3-=8?):,7.                 %@5:3>-E ;@ ;A:@>E    %@5:3>-E -995:    %@5:3>-E -FF -?@1>?    %@5:3>-E A71.;D !8051?    %@5:3>-E
    ")"# %                   5144176,=:16/<0-               ->-;71  -:0   %@5:3>-E 50? %@A22    %@5:3>-E -@5:; &>;<5/-8    %@5:3>-E -@5:; '>.-:-    %@5:3>-E -:0; ";<A8->
                                                                                           %@5:3>-E -D59A9 "->@E    %@5:3>-E A?5/   -:0   -:0   %@5:3>-E 1C 31    %@5:3>-E ; 1:/1?   
     "( %$$"$                +)58)1/6
                                                                                        %@5:3>-E ;@45: .A@ ?    %@5:3>-E !    %@5:3>-E ";< 0A8@   %@5:3>-E ";< 8-??5/?    %@5:3>-E ";</;>:   
                                                F. ?-E:- +7551<<-, <7 ?16         %@5:3>-E "A:6-.5    %@5:3>-E $1919.1> @41 ?    %@5:3>-E $1@>; -@5:;    %@5:3>-E $1@>; $:   %@5:3>-E $;/7
        &1<0 <0- 87<-6<1)4 <7 4)6,      616/67??-0)>-<7*-)*4-<7               %@5:3>-E $;/7 8@1>:-@5B1    %@5:3>-E $;/7 :@419?   %@5:3>-E $;/7 1: ?<-:;8    %@5:3>-E $;9-:/1 -@5:;
    ) <78 ;-4-+<176 16 <0- ,:).<    41>-?1<0?0)<<0-.=<=:-074,;               %@5:3>-E %-8?-1>1:3A1    %@5:3>-E %-9.- -:0 "-3;01    %@5:3>-E %587 ;B1 %;:3?    %@5:3>-E %9;;@4 -FF
                                                                                           %@5:3>-E %;8; "->- "1=A1?    %@5:3>-E %;A8 %@;>9   %@5:3>-E %;A:0? ;2 %;A@4 :05-    %@5:3>-E %;A@41>: -9?
    !7:<4)6, +)6 *=14, .7: <0-           .7:;75-84)A-:<0)<?-E>-<:),              %@5:3>-E %C5:35:3 %@-:0->0?    %@5:3>-E &-3-8;3    %@5:3>-E &41 8A1?    %@5:3>-E &41 534@    %@5:3>-E &41
    .=<=:- ?1<0 )67<0-: A7=6/             -,G:7616;)1,                          %<-    %@5:3>-E &;0-E? -@5: ";<    %@5:3>-E &;@-8 5@?  >-:/1   %@5:3>-E &;@-8 5@?  @-8E    %@5:3>-E &;@-8
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Case 3:18-md-02843-VC   Document 1145-2   Filed 07/11/23   Page 41 of 88




                        Exhibit H
                   Case 3:18-md-02843-VC                            Document 1145-2                 Filed 07/11/23            Page 42 of 88
                                                                                                          ENGLISH       INTERNATIONAL NEWS       USER LOGIN




                                            Lawsuits & Settlements         Legal News         Class Actions Explained       Shopping   I Am a Lawyer   About Us




Facebook user profile data privacy $725M class
action settlement

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                                                         ~                                             Settlement                                 Open for
   Lawsuit Filed                                    Class Certified
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Top Class Actions I July 6, 2023


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Category: Facebook Class Action Lawsuit and
Settlement News

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Top Class Actions's website and social media posts use affiliate links. If you make a purchase using                claim every week! Subscribe to our
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                       Case 3:18-md-02843-VC            Document 1145-2             Filed 07/11/23      Page 43 of 88
(Photo Credit: Kospa,s Grinvalds/ Shutterstock)



EDITOR'S NOTE This content has been sponsored and edited for clarity in
collaboration with the sponsor.

Meta Platforms Inc. has agreed to a $725 million class action settlement resolving
claims that Facebook (now Meta Platforms Inc.) shared or otherwise made
accessible to third parties Facebook user data and data about users' friends
without permission of the users whose data was shared and did not sufficiently
monitor and enforce third-party access or use of that data.

The settlement class includes all Facebook users in the United States between            Cell phone wrong-number robocalls could be
May 24, 2007, and Dec. 22, 2022, inclusive (the "class period"). The settlement          worth $500-$1,500 per violation of the federal
                                                                                         TCPA
class does not include: (i) all persons who are directors, officers, legal
                                                                                         JULY 7, 2023 I TCPA CLASS ACTION LAWSUITS
representatives, alleged co-conspirators and agents of defendant or its wholly or
partly owned subsidiaries or affiliated companies or employees of defendant or           READ MORE
its subsidiaries and affiliated companies; (ii) counsel for any plaintiff whose case
was consolidated into this MDL and their employees, including but not limited to
class counsel for plaintiffs and their employees; (iii) the special master, discovery
mediators and settlement mediator who participated in this case and their staff;
and the judges and court staff, as well as any appellate court to which this
matter is ever assigned; and (iv) eligible persons who elect to opt out of the
settlement class.

Meta Platforms is a technology company that owns Facebook, lnstagram,
WhatsApp and other platforms.
                                                                                         Patients who received faulty Exactech knee and
If the court approves the settlement, Meta will establish a settlement fund of $725      hip devices can seek compensation
                                                                                         JULY 6, 2023 I OPEN LAWSUITS
million to pay all valid claims submitted by the settlement class members, as well
as notice and administration expenses, any attorneys' fees and costs and any
                                                                                         READ MORE
service awards for the settlement class representatives.

The amount class members will be paid depends on how many class members
submit valid claims and how long they were users on Facebook during the class
period.

The court has scheduled a final approval hearing for Sept. 7, 2023.

Class members who wish to exclude themselves from or object to the Facebook
class action settlement must do so no later than July 26, 2023.

The deadline to submit a claim form is Aug. 25, 2023.



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All Facebook users in t he United States between Mav 24. 2007. and Dec. 22 . 2022.
               Case 3:18-md-02843-VC                  Document 1145-2             Filed 07/11/23   Page 44 of 88

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Varies.



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   CLICK HERE TO FILE A CLAIM »


NOTE: If you do not qualify for this settlement do NOT file a claim.

Remember: you are submitting your claim under penalty of perjury. You are also
harming other eligible Class Members by submitting a fraudulent claim. If you're
unsure if you qualify, please read the FAQ section of the Settlement
Administrator's website to ensure you meet all standards (Top Class Actions is not
a Settlement Administrator). If you don't qualify for this settlement, check out our
database of other open class action settlements you may be eligible for.



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08/ 25/ 2023



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In re: Facebook, Inc. Consumer Privacy User Profile Litigation, Case No. 3:18-md-
02843-VC, in the United States District Court for the Northern District of California



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09/ 07/ 2023



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FacebookUserPrivacySettlement.com



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               Case 3:18-md-02843-VC     Document 1145-2   Filed 07/11/23   Page 45 of 88
1650 Arch Street, Suite 2210
Philadelphia, PA 79103
info@FacebookUserPrivacySettlement.com
855-556-2233



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KELLER ROHRBACK LLP

BLEICH MAR FONTI & AULD LLP



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GIBSON DUNN & CRUTCHER LLP
Case 3:18-md-02843-VC        Document 1145-2         Filed 07/11/23         Page 46 of 88




                                                                              -
          Facebook User Privacy

           50 Days left
                                                              0
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          TYPICAL                         CLAIM               PROOF
          SETTLEMENT                      DEADLINE            REQUIRED?

          Varies                          8/25/23             No


          If you were a Facebook user in the United States between
          May 24, 2007 and December 22, 2022, you may be included in
          this class action settlement.




         rlJ Visit Official Settlement W ebsite                  > Share
Case 3:18-md-02843-VC   Document 1145-2   Filed 07/11/23   Page 47 of 88




                        Exhibit I
          Case 3:18-md-02843-VC                                      Document 1145-2                            Filed 07/11/23                                           Page 48 of 88




                                                                                        ■
                                   In re: Facebook Inc. Consumer
                                    Privacy User Profile Litigation
                                     Case No. 3:18-md-02843, in the U.S. District Court for the Northern District of
                                                                     California.




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                   Case 3:18-md-02843-VC                                                      Document 1145-2                      Filed 07/11/23                             Page 49 of 88




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                                                                                                                                             Highlights


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Get Your Share of the Money                                                                                                                                                                                               scandal

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Facebook Parent Settles Suit in Cambridge Analytica
Scandal                                                                                                Analytica user-privacy                                                n ; -;-=•--
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  NBC4 Washington                                                                                    MarketWatch                                                                                             New York Post
  Facebook Parent Settles Suit in Cambridge Analytica                                                Facebook agrees to settlement in cambridge                                                              Facebook parent company Meta settles Cambridge
  Scandal                                                                                            Analytica user-privacy case                                                                             Analytica lawsuit

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   The Morning Call                                                                                  Sun Senti nel                                                                                           http s://www.keyc.com
  Facebook parent Meta will pay $725M to settle                                                      Facebook parent Meta will pay $725M to settle                                                           Facebook parent Meta will pay $725M to settle- user
  Cambridge Analytica case                                                                           Cambridge Analytica case                                                                                data case

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                                                          settle user data case
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                                 · ~..                                                                      ·--·--                 Meta Paying $725M To Settle Cambridge Analytica Lawsuit

Meta agrees to pay $725 million to settle lawsuit
over Cambridge Analytica data leak
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 CNN                                                        Metro US                                                                   Deadline
 Meta agrees to pay $725 million to settle lawsuit          Facebook parent Meta will pay $725M to settle user                         Meta Paying $725M To Settle cambridge Analytica
 over Cambridge Analytica data leak I CNN Business          data case - Metro US                                                       Lawsutt By Facebook Users Who Said Their Person ...

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                                                                   $725M t o sett le user data case




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 CBS News • Breaking news, 24n live strea ...               San Diego Union-Tribune                                                    The Denver Post
 Facebook parent Meta will pay $725M to settle user         Facebook parent Meta will pay $725M to settle user                         Facebook parent Meta will pay $725M to settle user
 data case                                                  data case                                                                  data case

 ® 52.9K   fl{, 37.8M    «; 78                              ® 10JK fl{, 2.69M       «; 0                                               ® 106K ;1;, 309M               «; 0
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                                                                                                                                               Facebook's Parent Company Settles
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       MarketBeat: Stock Market News and Resear ...                                                                              The Daily Wire                                                             California18
       Facebook parent Meta will pay $725M to settle user                                                                        Facebook's Parent Company Settles Cambridge                                Cambridge Analytica scandal: Facebook pays $725
       data case                                                                                                                 Analytica Lawsuit For $725 Million I The Daily Wire                        million to end lawsuit - Californial8

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       cbs8.com                                                                                                                  Popular Science                                                            Market Wire News
       Facebook parent Meta will pay $725M to settle user                                                                        Meta will pay $725 million for a single Cambridge                          META- Meta to Settle Cambridge Analytica Case for
       data case                                                                                                                 Analytica privacy settlement                                               $725Million

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                                                      Meta Will Pay $725 Million to Settle Cambridge Analytica Class·
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Facebook parent Meta will pay $725M to settle user       Meta Will Pay $725 Million to Settle Cambridge                                                                      Facebook parent Meta will pay $725M to settle user
data case                                                Anatytica Class-Action Lawsuit                                                                                      data case

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     Cambridge Analytica scandal                                      -?-i1I
                                                      Stock market today: Dow ends higher in choppy week as
                                                      earnings, Fed worries sway
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Los Angeles Times                                         Yahoo Finance - Stock Market Live, Quotes, ...                                                                     Fortune
Meta agrees to pay $725 million over Cambridge           Stock market today: Dow ends higher in choppy                                                                       Facebook parent Meta pays record $725 million to
Anatytica scandal                                        week as earnings, Fed worries sway                                                                                  settle Cambridge Analytica scandal

@ 44K   ~' 26.4M    < 108                                 © 207K !):, 42.4M                   <0                                                                             © 271K ~' 14.3M        < 858
                              Case 3:18-md-02843-VC                Document 1145-2                                                                 Filed 07/11/23               Page 55 of 88




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        Meta To Pay $725M USO in Settlement Over
               Cambridge Analytica Scandal                   inflation, the natural gas plunge, tesla
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 Hypebeast. Driving Culture Forward                       Business News                                                                                                           CNET
 Meta To p3y $725M USO in Settlement Over                 inflation, the natural gas plunge. tesla • Business                                                                     Meta Settles Cambridge Analytica Scandal Lawsuit
 Cambridge Analytica Scandal                              News                                                                                                                    for $725M

 ® 15.9K ~' 5.86M      0: 7                               ® 13.1K ~, 207K                              0: J                                                                       ® 29.9K ~, 94.SM                                 0: 132



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                                                                                                                                                                                Facebook parent Meta paying $725M to
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                                                     lawsuit for $725 million                                                                                                   settle Cambridge Analytica suit
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Meta agrees to pay $725 million to settle lawsuit
over Cambridge Analytica data leak
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 CNN                                                      The Week                                                                                                                New York Post
 Meta agrees to pay $725 million to settle lawsuit        Meta to settle Cambridge Analytica lawsuit for $725                                                                     Facebook parent Meta paying $725M to settle
 over Cambridge Analytica data leak I CNN Business        million                                                                                                                 Cambridge Analytica suit

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Facebook Parent Meta Will Pay $725M To                                                                  Com bridge A nnlytica case
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HuffPost                                                                                               Chicago Tribune                                                         Seeking Alpha
Facebook Parent Meta Will Pay $725M To Settle User                                                     Facebook parent Meta will pay $725M to settle user                      Meta Platforms rises as Facebook parent agrees to
Data Case                                                                                              data case                                                               pay $725M Cambridge Analytica lawsuit

© 45.9K           /i;, 15.6M            «; 31                                                          © t3.tK   }I/, 6.06M   «; 26                                            © 314K      /,;, 705M   «; 15



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The New York Times - Breaking News, US N .•.                                                           USA TODAY                                                               Yahoo News - Latest News & Headlines
How to Claim Your Share of Facebook's $725 Million                                                     Facebook parent Meta Platforms to pay $725M to                          Facebook settles data privacy su~ for $725 min
Privacy Settlement                                                                                     settle Cambridge Analytica case

© 44tK           fl.. 135M          «:: 15.3K                                                          © 122K fl. 66.SM       0::: 58                                          ® 206K fl!, 58.9M       <3
                                                   Case 3:18-md-02843-VC                                Document 1145-2                                                         Filed 07/11/23                  Page 57 of 88




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How Facebook users can appl y for a                                                              U V        • , . _ , . . ,, ., . .... _ ,.._.., , _ _ _ . . . . , . . , . _
share of' $725 million settlement                                                                                                                                                                                  Good news, face boo k p ro bab ly owes you



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Washington Post                                                                                  CNBC                                                                                                             TechRadar
How Facebook users can apply for a share of $725                                                 Facebook parent settles suit in Cambridge Analytica                                                              Good news, Facebook probably owes you money
million settlement                                                                               scandal

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Meta will pay $725 million to settle a privacy lawsuit                                           Meta agrees to pay $725 million to settle cambridge                                                              Facebook parent Meta will pay $725M to se:tle a
ttat accused Facebook of sharing users' data with ..                                             Analytica class action lawsuit                                                                                   privacy suit over Cambridge Analytica

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                         Case 3:18-md-02843-VC                                                     Document 1145-2                            Filed 07/11/23              Page 58 of 88




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                                                                                                                                                                           Claim Share of Historic $725 Million
                                                                                                                                                                           Settlement


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                                                                                               You can now apply for your share of a S725 million Facebook
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New York Daily News                                                                              The Mercury News                                                    complex
Facebook to pay $725M to settle Cambridge                                                        You can now apply for your share of a $725 million                  U.S. Facebook Users With Active Accounts Between
Analytica lawsuit                                                                                Facebook data privacy settlement. Here's how                        2007 and 2022 can Claim Share of Historic $725...

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The Detro it News                                                                                Gabe Phil adelphi a                                                 TechSpot
Are you a Facebook user? You could get some                                                      Facebook users can now apply for their share of                     Here's how to claim your share of Meta's $725 million
settlement cash                                                                                  $725 million data privacy settlement Here's how                     privacy lawsuit settlement

@   tSK     fl;, 3.73M   < 17                                                                    @   20.6K    ~ 322M       < 126K                                    @         9nK          {}/, 326M             < 43
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                        Exhibit J
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                              This is a Court approved Legal Notice. You are not being sued.
                                          This is not a solicitation from a lawyer.


          Para el notificación en Español visite nuestro sitio web.



                            United States District Court for the Northern District of California

             In re: Facebook, Inc. Consumer Privacy User Profile Litigation, Case No. 3:18-md-02843-VC

                    NOTICE OF PROPOSED SETTLEMENT OF CLASS ACTION


          If you were a Facebook user in the United States between May 24, 2007,
              and December 22, 2022, inclusive, you may be eligible for a cash
                         payment from a Class Action Settlement.

      x    A Settlement1 has been reached between Defendant Facebook, Inc., now known as Meta Platforms, Inc.,
           (“Meta” or “Defendant”) and Plaintiffs in a class action lawsuit pending in the United States District Court
           for the Northern District of California.

      x    You are included in this Settlement as a Settlement Class Member if you were a Facebook user in the United
           States between May 24, 2007, and December 22, 2022, inclusive.

      x    The lawsuit is known as In re: Facebook, Inc. Consumer Privacy User Profile Litigation, Case No. 3:18-
           md-02843-VC (N.D. Cal.). Defendant denies that it violated any law but has agreed to the Settlement to
           avoid the costs and risks associated with continuing this case.

      x    Your rights are affected whether you act or don’t act. Please read this Notice carefully.

          SUMMARY OF YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT                                  DEADLINE
SUBMIT A CLAIM              The only way to receive a cash payment from this Settlement is      AUGUST 25, 2023
                            by submitting a timely and properly completed Claim Form that
                            obtains approval from the Settlement Administrator. The Claim
                            Form must be submitted no later than August 25, 2023.
                            You can submit your Claim Form online at
                            www.FacebookUserPrivacySettlement.com or download the
                            Claim Form from the Settlement Website and mail it to the



  1
   All capitalized terms not defined in this document have the same meaning as in the Settlement Agreement,
  which can be viewed at www.FacebookUserPrivacySettlement.com.
                                                               1
               Questions? Call 1-855-556-2233 Toll-Free or Visit www.FacebookUserPrivacySettlement.com
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         SUMMARY OF YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT                                                                             DEADLINE
                                    Settlement Administrator. You may also call the Settlement
                                    Administrator to receive a paper copy of the Claim Form.
                                    If your claim is approved by the Settlement Administrator, you
                                    will give up the right to sue the Defendant in a separate lawsuit
                                    about the legal claims or factual allegations this Settlement
                                    resolves.
                                    For more information see Question 10.
OPT OUT OF THE                      You can choose to opt out of the Settlement and receive no                                         JULY 26, 2023
SETTLEMENT                          payment. This option allows you to sue, continue to sue, or be
                                    part of another lawsuit against the Defendant related to the legal
                                    claims and factual allegations resolved by this Settlement. You
                                    can choose to hire your own legal counsel at your own expense.
                                    For more information see Question 16.
OBJECT TO THE                       If you do not opt out of the Settlement, you may object to it by                                   JULY 26, 2023
SETTLEMENT AND/OR                   writing to the Court about why you don’t like the Settlement.
ATTEND A HEARING                    You may also ask the Court for permission to speak about your
                                    objection at the Final Approval Hearing. If you object, you may
                                    also file a claim for a payment.
                                    For more information see Question 17.
DO NOTHING                          Unless you opt out of the settlement, you are automatically part                                   No Deadline
                                    of the Settlement. If you do nothing, you will not get a payment
                                    from this Settlement and you will give up the right to sue,
                                    continue to sue, or be part of another lawsuit against the
                                    Defendant related to the legal claims or factual allegations
                                    resolved by this Settlement.

    x     These rights and options—and the deadlines to exercise them—are explained in this Notice.

    x     The Court in charge of this case still has to decide whether to approve the Settlement.


                                                            WHAT THIS NOTICE CONTAINS

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        THE SETTLEMENT BENEFITS ......................................................................................................................... 4
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                Questions? Call 1-855-556-2233 Toll-Free or Visit www.FacebookUserPrivacySettlement.com
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                                                             BASIC INFORMATION


 1. Why was this Notice issued?

A federal court authorized this Notice because you have a right to know about the proposed Settlement
of this class action lawsuit and about all of your options before the Court decides whether to grant final
approval of the Settlement. This Notice explains the lawsuit, your legal rights, what benefits are
available, and who can receive them.

For information on how to determine if you are a Settlement Class Member, and therefore eligible for
benefits under this settlement, see Question 5.


 2. What is this lawsuit about?

Numerous lawsuits were brought on behalf of Facebook users who allege that Facebook (now Meta
Platforms, Inc.) shared or otherwise made accessible to third parties (including but not limited to third-
party app developers, “whitelisted” parties, business partners, advertisers, and data brokers) user data
and data about users’ friends without permission of the users whose data was shared, and did not
sufficiently monitor and enforce third-party access or use of that data. The Honorable Vince Chhabria
of the United States District Court for the Northern District of California was appointed to oversee
these lawsuits, which have been consolidated as In re: Facebook, Inc. Consumer Privacy User Profile
Litigation, Case No. 3:18-md-02843-VC (N.D. Cal.). The people that filed this lawsuit are called the
“Plaintiffs” and the company they sued, Facebook, Inc. (now Meta Platforms, Inc.) is called the
“Defendant.” Settlement Class Members include all Facebook users in the United States between May
24, 2007, and December 22, 2022, inclusive. Meta expressly denies any liability or wrongdoing.


 3. What is a class action?

In a class action, one or more individuals sue on behalf of other people with similar claims. These
individuals are known as “class representatives.” Together, the people included in the class action are
called a “class” or “class members.” One court resolves the lawsuit for all class members, except for
those who opt out from a settlement. In this Settlement, the Settlement Class Representatives are
Plaintiffs Steven Akins, Jason Ariciu, Anthony Bell, Bridgett Burk, Terry Fischer, Tyler King, Jordan
O’Hara, and Cheryl Senko.




                                                                             3
    Questions? Call 1-855-556-2233 Toll-Free or Visit www.FacebookUserPrivacySettlement.com
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 4. Why is there a Settlement?


The Court did not decide in favor of Plaintiffs or Defendant. Defendant denies all claims and that it
violated any law. Plaintiffs and Defendant agreed to a Settlement to avoid the costs and risks of a trial,
and to allow the Settlement Class Members to receive payments from the Settlement. The Settlement
Class Representatives and their attorneys think the Settlement is best for all Settlement Class Members.

                                     WHO IS IN THE SETTLEMENT?


 5. Who is in the Settlement?

The Settlement Class includes all Facebook users in the United States between May 24, 2007, and
December 22, 2022, inclusive (the “Class Period”).

You may file a claim if you were a Facebook user in the United States between May 24, 2007, and
December 22, 2022, inclusive. Each Settlement Class Member may only file one claim.


 6. Are there exceptions to being included?

Yes. The Settlement Class does not include: (i) all persons who are directors, officers, legal
representatives, alleged co-conspirators, and agents of Defendant or its wholly or partly owned
subsidiaries or affiliated companies or employees of Defendant or its subsidiaries and affiliated
companies; (ii) counsel for any plaintiff whose case was consolidated into this MDL and their
employees, including but not limited to Class Counsel for Plaintiffs and their employees; (iii) the
Special Master, Discovery Mediators, and Settlement Mediator who participated in this case and their
staff; and the Judges and Court staff, as well as any appellate court to which this matter is ever assigned;
and (iv) eligible persons who elect to opt out of the Settlement Class.

You may file a claim if you were a Facebook user in the United States between May 24, 2007, and
December 22, 2022, inclusive.

If you are not sure whether you are included in the Settlement Class, you can ask for free help by
emailing the Settlement Administrator at info@FacebookUserPrivacySettlement.com or calling the
Settlement Administrator at 1-855-556-2233. You may also view the Settlement Agreement at
www.FacebookUserPrivacySettlement.com.

                                      THE SETTLEMENT BENEFITS


 7. What does the Settlement provide?


If the Settlement is approved by the Court, Meta will establish a Settlement Fund of seven hundred
twenty-five million dollars ($725,000,000.00) to pay all valid claims submitted by the Settlement Class

                                                     4
   Questions? Call 1-855-556-2233 Toll-Free or Visit www.FacebookUserPrivacySettlement.com
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Members, as well as notice and administration expenses, any attorneys’ fees and costs, and any Service
Awards for the Settlement Class Representatives.

 8. How much will my payment be?


The answer depends on how many Settlement Class Members submit valid claims and how long you
were a user on Facebook during the Class Period.

First, the total amount distributed will be the Settlement Fund minus the Administrative Costs, any
amount awarded by the Court as fees and costs to Class Counsel, and any Service Awards to the
Settlement Class Representatives. The resulting amount is called the “Net Settlement Fund.” The Net
Settlement Fund is the amount of money available to be distributed to Settlement Class Members.

Next, the Net Settlement Fund will be allocated to Settlement Class Members who submit valid claims,
also called “Authorized Claimants.” The Settlement Administrator will assign each Authorized
Claimant one point for each month in which the Authorized Claimant had an activated Facebook
account during the Class Period.

After the deadline for submitting a claim (see Question 11 below), the Settlement Administrator will
add up all the points assigned to all the Authorized Claimants and divide the Net Settlement Amount
by that number. The result will be the amount of the Net Settlement Fund available for each point.
Each Authorized Claimant will receive that per-point amount multiplied by the number of points they
were assigned.


 9. What claims am I releasing if I stay in the Settlement Class?

Unless you exclude yourself from the Settlement, you cannot sue, continue to sue, or be part of any
other lawsuit against the Defendant about any of the legal claims this Settlement resolves or the factual
allegations on which this case is based. The “Released Claims” section in the Settlement Agreement
describes the legal claims that you give up (“release”) if you remain in the Settlement Class. In
summary, unless you exclude yourself from the Settlement, you will release any and all claims of any
type based on any theory of recovery that are based on, relate to, or arise out of the identical factual
predicate as the allegations in this Action. The Released Claims language section is in paragraph 73 of
the Settlement Agreement, which can be found at www.FacebookUserPrivacySettlement.com.

                            HOW TO GET A PAYMENTˁMAKING A CLAIM


 10. How do I submit a claim and get a cash payment?


You may file a claim if you were a Facebook user in the United States between May 24, 2007 and
December 22, 2022, inclusive.

Claim Forms may be submitted online at www.FacebookUserPrivacySettlement.com or printed from
the Settlement Website and mailed to the Settlement Administrator at: Facebook Consumer Privacy

                                                   5
   Questions? Call 1-855-556-2233 Toll-Free or Visit www.FacebookUserPrivacySettlement.com
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User Profile Litigation, c/o Settlement Administrator, 1650 Arch Street, Suite 2210, Philadelphia, PA
19103.

You may also contact the Settlement Administrator to request a Claim Form by telephone 1-855-556-
2233, by email info@FacebookUserPrivacySettlement.com, or by U.S. mail at Facebook Consumer
Privacy User Profile Litigation, c/o Settlement Administrator, 1650 Arch Street, Suite 2210,
Philadelphia, PA 19103.



 11. What is the deadline for submitting a claim?


If you submit a claim by U.S. mail, the completed and signed Claim Form must be postmarked by
August 25, 2023. If submitting a Claim Form online, you must do so by 11:59 p.m. PDT on August
25, 2023.

 12. When will I get my payment?


The Court has scheduled a Final Approval Hearing for the Settlement of this case on September 7,
2023 at 1 p.m. PDT to consider: (1) whether to approve the Settlement; (2) any objections to the
Settlement or any of its terms submitted to the Court; (3) the requests for awards to the Settlement
Class Representatives; and (4) the request for an award of attorneys’ fees and costs to Class Counsel
for their work in this litigation. If the Court approves the Settlement, there may be appeals. It is always
uncertain whether appeals will be filed and, if so, how long it will take to resolve them. Settlement
payments will be distributed as soon as possible if the Court grants Final Approval of the Settlement
and after any appeals are resolved.

The briefs and declarations in support of the Final Approval of the Settlement and the requests
described above will be posted on the Settlement Website, www.FacebookUserPrivacySettlement.com,
after they are filed. You may ask to appear at the Final Approval Hearing but you do not have to appear.
The date and time of the Final Approval Hearing is also subject to modification by the Court. Please
review the Settlement Website for any updated information regarding the Final Approval Hearing.

                                  THE LAWYERS REPRESENTING YOU


 13. Do I have a lawyer in the case?


Yes. The Court has appointed Derek W. Loeser of Keller Rohrback L.L.P. and Lesley E. Weaver of
Bleichmar Fonti & Auld LLP to represent the Settlement Class as Class Counsel. You will not be
charged for their services.

         Derek W. Loeser                                      Lesley E. Weaver
         Keller Rohrback L.L.P.                               Bleichmar Fonti & Auld LLP
         1201 Third Ave., Suite 3200                          555 12th Street, Suite 1600
         Seattle, WA 98101                                    Oakland, CA 94607

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   Questions? Call 1-855-556-2233 Toll-Free or Visit www.FacebookUserPrivacySettlement.com
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 14. Should I get my own lawyer?


You do not need to hire your own lawyer because Class Counsel works for you. If you want to be
represented by your own lawyer, you may hire one at your own expense.


 15. How will the lawyers be paid?

Class Counsel will ask the Court for an award of attorneys’ fees not to exceed 25% of the Settlement
Fund, as well as reasonable expenses incurred in the litigation. They will also ask the Court to approve
a Service Award for each of the Settlement Class Representatives not to exceed $15,000 each. The
Court may award less than these amounts. If approved, these fees, expenses and awards will be paid
from the Settlement Fund.

                           EXCLUDING YOURSELF FROM THE SETTLEMENT


 16. How do I opt out of the Settlement?


If you do not want to receive any benefits from the Settlement, and you want to keep your right, if any,
to separately sue the Defendant about the legal issues or factual allegations in this case, you must take
steps to exclude yourself from the Settlement Class. This is called “opting out” of the Settlement Class.
The deadline for requesting to opt out is July 26, 2023.

To exclude yourself from the Settlement, you may submit a completed and signed opt out request
online at www.FacebookUserPrivacySettlement.com or by U.S. mail at the below address. You may
also submit a written request for exclusion by U.S. mail at the below address that includes the following
information: (i) the case name of the Action, In re: Facebook, Inc. Consumer Privacy User Profile
Litigation, Case No. 3:18-md-02843-VC (N.D. Cal.); (ii) your name and current address; (iii) your
personal signature; (iv) a statement clearly indicating your intent to be excluded from the
Settlement (the request can only be made for you, not on another person’s behalf unless made by
a person who has legal guardianship); (v) your Facebook account URL (if reasonably available)
and the email address and telephone number associated with your Facebook account; and (vi) a
statement that you were a Facebook user during the Class Period.

                        Facebook Consumer Privacy User Profile Litigation
                                  c/o Settlement Administrator
                                         Attn: Exclusion
                                         P.O. Box 58220
                                     Philadelphia, PA 19102

If you exclude yourself, you are stating to the Court that you do not want to be part of the Settlement.
You will not be eligible to receive a payment if you exclude yourself. You may only exclude yourself
– not any other person, unless that person is under your legal guardianship (such as a minor child).
Opt-out requests seeking exclusion on behalf of more than one individual will be found invalid by
the Settlement Administrator.
                                                   7
   Questions? Call 1-855-556-2233 Toll-Free or Visit www.FacebookUserPrivacySettlement.com
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If submitted electronically, your request to opt-out must be submitted and verified using a link sent to
the email you provide with your opt-out request no later than 11:59 p.m. PDT on or before July 26,
2023.

If submitted by U.S. mail, the written request to opt-out must be postmarked no later than July 26,
2023.

                        COMMENTING ON OR OBJECTING TO THE SETTLEMENT


 17. How do I tell the Court if I like or do not like the Settlement?


If you are a Settlement Class Member, you can choose to object to the Settlement if you do not like it
or a portion of it. You can ask the Court to deny approval by filing an objection. You can give reasons
why you think the Court should not approve it. The Court will consider your views. You can’t ask the
Court to order a different settlement; the Court can only approve or reject the settlement. If the Court
denies approval, no settlement payments will be sent out, and the lawsuit will continue. If that is what
you want to happen, you should object.

Any comments or objections from Settlement Class Members regarding the proposed Settlement
Agreement must be submitted in writing to the Court either by mailing them to the Class Action Clerk,
United States District Court for the Northern District of California; or by filing them in person at any
location of the United States District Court for the Northern District of California, and they must be
filed or postmarked on or before July 26, 2023.

                                        Class Action Clerk
                United States District Court for the Northern District of California
                               450 Golden Gate Avenue, Box 36060
                                  San Francisco, CA 94102-3489

Your objection must include: (i) the case name and number: In re: Facebook, Inc. Consumer Privacy
User Profile Litigation, Case No. 3:18-md-02843-VC (N.D. Cal.); (ii) your full name, address,
telephone number, and email address; (iii) your Facebook account URL (if reasonably available) and
the email address associated with your Facebook account; (iv) the full name, address, telephone
number, and email address of your counsel (if you are represented by counsel); (v) a statement that
you were a Facebook user during the Class Period and the dates of such use; (vi) a statement of whether
your objection applies only to you, to a specific subset of the class, or to the entire class; (vii) a
statement of the number of times in which you (and, where applicable, your counsel) have objected to
a class action settlement, along with the caption of each case in which you (or your counsel) made such
objection; (viii) a statement of whether the objector has sold or otherwise transferred the right to their
recovery in this Action to another person or entity, and, if so, the identity of that person or entity; (ix)
a statement of the specific grounds for the objection, including any legal or factual support and any
evidence in support of the objection; (x) a statement of whether you intend to appear at the Final
Approval Hearing, and if so, whether personally or through counsel; and (xi) your signature. These
requirements may be excused by the Court upon a showing of good cause.

You or your attorney may speak at the Final Approval Hearing about your objection. To do so, you
must include a statement in your objection indicating whether you or your attorney intend to appear at
                                                     8
   Questions? Call 1-855-556-2233 Toll-Free or Visit www.FacebookUserPrivacySettlement.com
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the Final Approval Hearing. This requirement may be excused upon a showing of good cause. You
may also appear at the Final Approval Hearing without submitting a written objection upon a showing
of good cause.


 18. What is the difference between objecting and excluding?


Objecting is telling the Court that you do not like something about the Settlement. You can object to
the Settlement only if you do not exclude yourself from the Settlement. Excluding yourself from the
Settlement is opting out and stating to the Court that you do not want to be part of the Settlement. If
you opt out of the Settlement, you cannot object to it because the Settlement no longer affects you.

                             THE COURT˅S FINAL APPROVAL HEARING


 19. When is the Court’s Final Approval Hearing?


The Court has scheduled a Final Approval Hearing at 1 p.m. PDT on September 7, 2023 The hearing
will proceed by video conference. A link to the video conference is available at the following address:
https://www.cand.uscourts.gov/judges/chhabria-vince-vc/.

At the Final Approval Hearing, the Court will consider whether the Settlement is fair, reasonable, and
adequate. The Court will also consider whether to approve Class Counsel’s request for an award of
attorneys’ fees and expenses, as well as the Settlement Class Representatives’ Service Awards. If there
are objections, the Court will consider them. Judge Chhabria will listen to people who have asked to
speak at the hearing (see Question 17 above). After the hearing, the Court will decide whether to
approve the Settlement.

The date or time of the Final Approval Hearing may change. Please check the Settlement Website,
www.FacebookUserPrivacySettlement.com, for any updates, and to find out whether the Final
Approval Hearing will be held in person or by video conference.

 20. Do I have to come to the Final Approval Hearing?


No. Class Counsel will answer any questions the Court may have. You may attend at your own expense
if you wish. If you file an objection, you do not have to come to the Final Approval Hearing to talk
about it. If you file your written objection on time, the Court will consider it. You may also pay your
own lawyer to attend, but such attendance is not necessary for the Court to consider your objection if
it was filed on time.

                                          IF I DO NOTHING


 21. What happens if I do nothing at all?



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   Questions? Call 1-855-556-2233 Toll-Free or Visit www.FacebookUserPrivacySettlement.com
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If you are a Settlement Class Member and you do nothing, you will give up the rights explained in
Question 9, including your right to start a lawsuit, continue a lawsuit, or be part of any other lawsuit
against the Defendant and the Released Parties about the legal issues or factual allegations resolved by
this Settlement. In addition, you will not receive a payment from this Settlement.


                                   GETTING MORE INFORMATION


 22. How do I get more information?


This Notice summarizes the proposed Settlement. Complete details are provided in the Settlement
Agreement. The Settlement Agreement and other related documents are available at the Settlement
Website, www.FacebookUserPrivacySettlement.com.

If you have additional questions, you may contact the Settlement Administrator by email, phone, or
mail:

Email: info@FacebookUserPrivacySettlement.com

Toll-Free: 1-855-556-2233

Mail: Facebook Consumer Privacy User Profile Litigation, c/o Settlement Administrator, 1650 Arch
Street, Suite 2210, Philadelphia, PA 19103

Publicly filed documents can also be obtained by:
   x accessing the Court docket in this case, for a fee, through the Court’s Public Access to Court
        Electronic Records (PACER) system at https://ecf.cand.uscourts.gov;
   x reviewing the Court’s online docket: https://www.cand.uscourts.gov/judges/chhabria-vince-
        vc/in-re-facebook-inc-consumer-privacy-user-profile-litigation/; or
   x visiting the office of the Clerk of the United States District Court for the Northern District of
        California at: Office of the Clerk, United States District Court, 450 Golden Gate Avenue, San
        Francisco, CA 94102-3489 between 9:00 a.m. and 4:00 p.m., Monday through Friday,
        excluding Court holidays.

         Please do not telephone the Court, the Clerk’s Office, or Meta to inquire about the
                                 Settlement or the Claims Process.




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   Questions? Call 1-855-556-2233 Toll-Free or Visit www.FacebookUserPrivacySettlement.com
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                        Exhibit K
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               UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
        In re: Facebook, Inc. Consumer Privacy User Profile Litigation, Case No. 3:18-MD-02843-VC
                                 www.FacebookUserPrivacySettlement.com

                                    CLAIM FORM INSTRUCTIONS

This Claim Form is for Settlement Class Members. The Settlement Class includes the following: All Facebook
users in the United States between May 24, 2007 and December 22, 2022. To receive a payment from the
Settlement, you must complete and submit this form.

                                   How To Complete This Claim Form

1. There are two ways to submit this Claim Form to the Settlement Administrator: (a) online at
   www.FacebookUserPrivacySettlement.com; or (b) by U.S. Mail to the following address: Facebook
   Consumer Privacy User Profile Litigation, c/o Settlement Administrator, 1650 Arch Street, Suite 2210,
   Philadelphia, PA 19103. Your Claim Form must be submitted by August 25, 2023. If you submit your claim
   by U.S. mail, make sure the completed and signed Claim Form is postmarked by August 25, 2023.

2. You must complete the entire Claim Form. Please type or write your responses legibly.

3. If your Claim Form is incomplete or missing information, the Settlement Administrator may contact you for
   additional information. If you do not respond by the deadline provided by the Settlement Administrator for
   you to supply any such additional information, your claim will not be processed, and you will waive your
   right to receive money under the Settlement.

4. You may only submit one Claim Form.

5. Submission of the Claim Form does not guarantee payment. Your Claim Form must be approved by the
   Settlement Administrator.

6. If you have any questions, please contact the Settlement Administrator by email at
   info@FacebookUserPrivacySettlement.com, by telephone at 1-855-556-2233 or by U.S. mail at the address
   listed above.

7. You must notify the Settlement Administrator if your contact or payment information changes after
   you submit your Claim Form. If you do not, even if you submit a valid claim under the Settlement, you
   may not receive your Settlement payment.

8. DEADLINE -- If you submit a claim by U.S. mail, the completed and signed Claim Form must be postmarked
   by August 25, 2023. If submitting a Claim Form online, you must do so by 11:59 p.m. PDT on August 25,
   2023.




                                                     1
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                                            UNITED STATES DISTRICT COURT
                                          NORTHERN DISTRICT OF CALIFORNIA
 Your claim must be           In re: Facebook, Inc. Consumer Privacy User Profile Litigation
 submitted online or                          Case No. 3:18-MD-02843-VC                                   FCP
   postmarked by:                       www.FacebookUserPrivacySettlement.com
   August 25, 2023
                                                   Claim Form
I. YOUR CONTACT INFORMATION

Provide your name and contact information below. You must notify the Settlement Administrator if your
contact information changes after you submit this form. NOTE: The personal information you provide below
will be processed only for purposes of effectuating the Settlement.


                 First Name                                                 Last Name



             Street Address



                City                                    State                                  Zip Code



         Current Phone Number                         Email Address


II. DETAILS



  Did you reside in the United States at any time between May 24, 2007 and December               Yes
  22, 2022, inclusive?
                                                                                                  No


  Were you a Facebook user at any time between May 24, 2007 and December 22,                      Yes
  2022?
                                                                                                  No

  Enter the email address(es), phone number(s), and/or username(s) associated with your Facebook account
  between May 24, 2007 and December 22, 2022:

 Email(s):
                       1. __________________________________
                       2. __________________________________
                       3. __________________________________

                                                        2
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Phone Number(s):
                    1. __________________________________
                    2. __________________________________
                    3. __________________________________
Username(s):
This information can be found on the Facebook mobile application or the website by navigating to
“Account” > “Settings and Privacy” > “General Account Settings” > “Username.”
                    1. __________________________________
                    2. __________________________________
                    3. _________________________________
                    4. __________________________________
                    5. __________________________________

 IF YOU CURRENTLY HAVE A FACEBOOK ACCOUNT, YOU DO NOT NEED                                 Start Date:
 TO ANSWER THIS QUESTION AND CAN PROCEED TO SECTION III.
                                                                                           __ __ / __ __
 If you were a Facebook user at any time between May 24, 2007 and December 22,             MM YY
 2022, but have since deleted your account:
                                                                                           End Date:
 Provide the date range you were a Facebook user.
                                                                                           __ __ / __ __
 Enter dates as MM/YY (e.g., 01/10 for January 2010).                                      MM YY


III. METHOD FOR RECEIVING PAYMENT (choose one)

Please select one of the following payment options:

    Prepaid Mastercard – Enter the email address where you will receive the Prepaid Mastercard:

    __________________________________________________

    PayPal - Enter your PayPal email address: ________________________________________________

    Venmo - Enter the mobile number associated with your Venmo account: __ __ __-__ __ __-__ __ __ __

    Zelle - Enter the email address or mobile number associated with your Zelle account:

    __________________________________________________

   Physical Check - Payment will be mailed to the address provided above.




                                                      3
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 IV. VERIFICATION AND ATTESTATION UNDER OATH

 By signing below and submitting this Claim Form, I hereby swear under penalty of perjury that I am the person
 identified above and the information provided in this Claim Form is true and correct.



 ___________________________________                             Date:
 Your signature                                                          MM        DD        YYYY

 ___________________________________
 Your name


                                          REMINDER CHECKLIST
1. Please make sure you answered all the questions on the Claim Form. Be sure to select only one payment option.
2. Please make sure that you signed and dated the Claim Form.
3. Please keep a copy of your completed claim form for your own records.
4. Please submit your completed Claim Form online OR by mail by August 25, 2023 to: Facebook Consumer Privacy
   User Profile Litigation, c/o Settlement Administrator, 1650 Arch Street, Suite 2210, Philadelphia, PA 19103




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                        Exhibit L
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                                          UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF CALIFORNIA
                            In re: Facebook, Inc. Consumer Privacy User Profile Litigation
   Your Opt-Out
                                            Case No. 3:18-MD-02843-VC
   Form must be                      www.FacebookUserPrivacySettlement.com                           FCP_OPT
  postmarked by:
  JULY 26, 2023

                                                Opt-Out Form

I. YOUR CONTACT INFORMATION




               First Name                                                     Last Name



          Street Address



              City                                      State                                  Zip Code



         Email address




 Facebook Account Username(s) (if                 Email Address(es)                  Phone number(s) associated
 available)                                       associated with Facebook           with Facebook account
                                                  account

II. SIGNATURE

I am a Settlement Class Member who is requesting to be excluded from the In re: Facebook, Inc. Consumer Privacy
User Profile Litigation, Case No. 3:18-MD-02843-VC (N.D. Cal.) class action settlement. I was an active Facebook
user who resided in the United States at any point between May 24, 2007 and December 22, 2022. I understand that
by submitting this Opt-Out Form I am requesting exclusion from this Settlement, and I will not receive a Settlement
payment.

___________________________________                             Date:
Your signature                                                           MM        DD        YYYY
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If submitted electronically, this form must be submitted and verified using a link sent to you at the email
   address you have provided with your opt out request no later than 11:59 p.m. PDT on July 26, 2023.

  If submitted by U.S. mail, this form or any written request to opt-out must be sent to the Settlement
               Administrator at the address below and be postmarked by July 26, 2023.

                            Facebook Consumer Privacy User Profile Litigation
                                       ATTN: Exclusion Request
                                            P.O. Box 58220
                                        Philadelphia, PA 19102
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                        Exhibit M
           Case 3:18-md-02843-VC            Document 1145-2         Filed 07/11/23      Page 79 of 88

                                           UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF CALIFORNIA
                             In re: Facebook, Inc. Consumer Privacy User Profile Litigation
   Your Objection
                                             Case No. 3:18-MD-02843-VC
    Form must be                      www.FacebookUserPrivacySettlement.com                           FCP_OBJ
   postmarked by:
   JULY 26, 2023

                                                Objection Form
I want to object to the Settlement in In re: Facebook, Inc. Consumer Privacy User Profile Litigation, No. 3:18-MD-
02843-VC (N.D. Cal.) but remain a member of the Class. I understand that if I object to or comment on the
Settlement, I am still eligible for benefits.

You can ask the Court to deny approval by filing an objection. You can’t ask the Court to order a larger settlement;
the Court can only approve or deny the Settlement. If the Court denies approval, no settlement payments will be sent
out and the lawsuit will continue.

  DO NOT FILE THIS FORM IF YOU WANT TO EXCLUDE YOURSELF FROM THE SETTLEMENT

I. YOUR INFORMATION




                First Name                                                    Last Name



            Street Address



               City                                      State                                  Zip Code

                                                  (____) ____-_______

  Email address                                   Telephone number




  Facebook Account Username(s) (if                Email Address(es)                  Phone number(s) associated
  available)                                      associated with Facebook           with Facebook account
                                                  account
         Case 3:18-md-02843-VC            Document 1145-2         Filed 07/11/23      Page 80 of 88


II. OBJECTION

What are the reasons you object to the Settlement? Please provide any supporting materials.




Does your objection apply only to you, to a specific subset of the class or the total class?




Were you a Facebook user at any time between May 24, 2007 and December 22, 2022?
□ YES □ NO
If so, when were you a Facebook user? (Please indicate years of use)



Have you (or your counsel, if applicable) previously made objections to a class action settlement?
□ YES □ NO
If yes, how many times have you (or your counsel) previously made objections? (Please provide the caption
of each case in which you (or your counsel) have made an objection).




Have you sold or otherwise transferred the right to your recovery in this Action to another person or
entity?
□ YES □ NO
If so, please indicate that person or entity.



Are you represented by an attorney?                                                            □ YES □ NO
If so, please supply their name and contact information below:
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Please indicate if you and/or your attorney plan to appear at the final approval hearing.




III. SIGNATURE




             Your signature                                                         Date

 You must submit your objection to the Court by mailing it to the Class Action Clerk at the address below
  OR by filing it in person at any location of the United States District Court for the Northern District of
            California. Your objection must be filed or postmarked no later than July 26, 2023.

                                              Class Action Clerk
                      United States District Court for the Northern District of California
                                    450 Golden Gate Avenue, Box 36060
                                       San Francisco, CA 94102-3489
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                        Exhibit N
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               UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
        In re: Facebook, Inc. Consumer Privacy User Profile Litigation, Case No. 3:18-MD-02843-VC
                                 www.FacebookUserPrivacySettlement.com

                                    CLAIM FORM INSTRUCTIONS

This Claim Form is for Settlement Class Members. The Settlement Class includes the following: All Facebook
users in the United States between May 24, 2007 and December 22, 2022. To receive a payment from the
Settlement, you must complete and submit this form.

                                   How To Complete This Claim Form

1. There are two ways to submit this Claim Form to the Settlement Administrator: (a) online at
   www.FacebookUserPrivacySettlement.com; or (b) by U.S. Mail to the following address: Facebook
   Consumer Privacy User Profile Litigation, c/o Settlement Administrator, 1650 Arch Street, Suite 2210,
   Philadelphia, PA 19103. Your Claim Form must be submitted by August 25, 2023. If you submit your claim
   by U.S. mail, make sure the completed and signed Claim Form is postmarked by August 25, 2023.

2. You must complete the entire Claim Form. Please type or write your responses legibly.

3. If your Claim Form is incomplete or missing information, the Settlement Administrator may contact you for
   additional information. If you do not respond by the deadline provided by the Settlement Administrator for
   you to supply any such additional information, your claim will not be processed, and you will waive your
   right to receive money under the Settlement.

4. You may only submit one Claim Form.

5. Submission of the Claim Form does not guarantee payment. Your Claim Form must be approved by the
   Settlement Administrator.

6. If you have any questions, please contact the Settlement Administrator by email at
   info@FacebookUserPrivacySettlement.com, by telephone at 1-855-556-2233 or by U.S. mail at the address
   listed above.

7. You must notify the Settlement Administrator if your contact or payment information changes after
   you submit your Claim Form. If you do not, even if you submit a valid claim under the Settlement, you
   may not receive your Settlement payment.

8. DEADLINE -- If you submit a claim by U.S. mail, the completed and signed Claim Form must be postmarked
   by August 25, 2023. If submitting a Claim Form online, you must do so by 11:59 p.m. PDT on August 25,
   2023.




                                                     1
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                                          UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF CALIFORNIA
 Your claim must be         In re: Facebook, Inc. Consumer Privacy User Profile Litigation
 submitted online or                        Case No. 3:18-MD-02843-VC                                   FCP
   postmarked by:                     www.FacebookUserPrivacySettlement.com
   August 25, 2023
                                                   Claim Form
I. YOUR CONTACT INFORMATION

Provide your name and contact information below. You must notify the Settlement Administrator if your
contact information changes after you submit this form. NOTE: The personal information you provide below
will be processed only for purposes of effectuating the Settlement.


               First Name                                                  Last Name



           Street Address



               City                                     State                                Zip Code



          Current Phone Number                         Email Address


II. DETAILS



  Did you reside in the United States at any time between May 24, 2007 and                   Yes
  December 22, 2022, inclusive?
                                                                                             No


  Were you a Facebook user at any time between May 24, 2007 and December                     Yes
  22, 2022?
                                                                                             No

  Are you filling a claim for a current account, a deleted account or a                  Current
  combination of both?
                                                                                         Deleted

                                                                                             Both




                                                        2
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CURRENT ACCOUNT
Enter the email address(es), phone number(s), and/or username(s) associated with your Facebook account
between May 24, 2007 and December 22, 2022:

Current Email(s):
                    1. __________________________________
                    2. __________________________________
                    3. __________________________________
Current Phone Number(s):
                    1. __________________________________
                    2. __________________________________
                    3. __________________________________
Current Username(s):
For instructions about how to find your Facebook username, please see FAQ 17 at
https://facebookuserprivacysettlement.com.

                    1. __________________________________
                    2. __________________________________
                    3. __________________________________



DELETED ACCOUNT(S)

If you were a Facebook user at any time between May 24, 2007 and December 22, 2022, but have since
deleted your account(s), complete the chart below for each deleted Facebook account.




                 Account ID Type            Enter the Phone Number,
                (Select from: Phone        Username or Email Address
               Number, Username or         associated with your deleted   Approximate     Approximate
     #            Email Address)                     account               Start Date       End Date
  Example          Phone Number                    111-111-1111             1/1/2010       12/31/2010
     1.
     2.
     3.




                                                   3
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 III. METHOD FOR RECEIVING PAYMENT (choose one)

 Please make sure the email or phone number you provide to receive payment matches your contact
 information above.

 Please select one of the following payment options:

     Prepaid Mastercard – Enter the email address where you will receive the Prepaid Mastercard:

     __________________________________________________

     PayPal - Enter your PayPal email address: ________________________________________________

     Venmo - Enter the mobile number associated with your Venmo account: __ __ __-__ __ __-__ __ __ __

     Zelle - Enter the email address or mobile number associated with your Zelle account:

     __________________________________________________

    Physical Check - Payment will be mailed to the address provided above.


 IV. VERIFICATION AND ATTESTATION UNDER OATH

 By signing below and submitting this Claim Form, I hereby swear under penalty of perjury that I am the person
 identified above and the information provided in this Claim Form is true and correct.



 ___________________________________                            Date:
 Your signature                                                         MM         DD        YYYY

 ___________________________________
 Your name




                                          REMINDER CHECKLIST
1. Please make sure you answered all the questions on the Claim Form. Be sure to select only one payment option.
2. Please make sure that you signed and dated the Claim Form.
3. Please keep a copy of your completed claim form for your own records.
4. Please submit your completed Claim Form online OR by mail by August 25, 2023 to: Facebook Consumer Privacy
   User Profile Litigation, c/o Settlement Administrator, 1650 Arch Street, Suite 2210, Philadelphia, PA 19103


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                        Exhibit O
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&ƌŽŵEĂŵĞ͗&ĂĐĞďŽŽŬŽŶƐƵŵĞƌWƌŝǀĂĐǇhƐĞƌWƌŽĮůĞ>ŝƟŐĂƟŽŶ^ĞƩůĞŵĞŶƚĚŵŝŶŝƐƚƌĂƚŽƌ
^ƵďũĞĐƚ͗&ĂĐĞďŽŽŬhƐĞƌWƌŝǀĂĐǇ^ĞƩůĞŵĞŶƚůĂŝŵ^ƵďŵŝƐƐŝŽŶ
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ĐůĂŝŵƐŝŶƚŚŝƐĐůĂƐƐƐĞƩůĞŵĞŶƚ͘WůĞĂƐĞƌĞĂĚƚŚĞĨŽůůŽǁŝŶŐĐĂƌĞĨƵůůǇ͘

dŚĞ^ĞƩůĞŵĞŶƚtĞďƐŝƚĞ͛Ɛ͞^ƵďŵŝƚůĂŝŵ͟ĨŽƌŵŚĂƐďĞĞŶŵŽĚŝĮĞĚƚŽĂĐĐŽŵŵŽĚĂƚĞĐůĂŝŵĂŶƚƐǁŚŽ
ĐƌĞĂƚĞĚďƵƚƚŚĞŶĚĞůĞƚĞĚŽŶĞŽƌŵŽƌĞ&ĂĐĞďŽŽŬĂĐĐŽƵŶƚƐĚƵƌŝŶŐƚŚĞĐůĂƐƐƉĞƌŝŽĚ͕ĂŶĚƚŚĞŶůĂƚĞƌĐƌĞĂƚĞĚ
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ďĞůŽǁŽŶŚŽǁƚŽĞĚŝƚǇŽƵƌĐůĂŝŵ͘EŽƚĞƚŚĂƚŝĨǇŽƵŚĂĚŵƵůƟƉůĞĂĐĐŽƵŶƚƐĂƚƚŚĞƐĂŵĞƟŵĞ͕ƚŚĞǇǁŽŶ͛ƚďĞ
ĚŽƵďůĞĐŽƵŶƚĞĚ͘

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    Ϯ͘ ůŝĐŬŽŶ͞^ƵďŵŝƚůĂŝŵ͘͟
    ϯ͘ ůŝĐŬƚŚĞůŝŶŬůŽĐĂƚĞĚĂƚƚŚĞƚŽƉŽĨƚŚĞƉĂŐĞƚŽĞĚŝƚǇŽƵƌĐůĂŝŵ;͞&ŝůĞĚůĂŝŵ͍ůŝĐŬ,ĞƌĞƚŽĚŝƚ
        zŽƵƌůĂŝŵ͟Ϳ͘
    ϰ͘ WƌŽǀŝĚĞƚŚĞEŽƟĐĞ/ĂŶĚŽŶĮƌŵĂƟŽŶŽĚĞƉƌŽǀŝĚĞĚĂƚƚŚĞƚŽƉŽĨƚŚŝƐŶŽƟĐĞŝŶŽƌĚĞƌƚŽĂĐĐĞƐƐ
        ĂŶĚĞĚŝƚǇŽƵƌĐůĂŝŵ͘
    ϱ͘ /ŶƚŚĞ͞ĞƚĂŝůƐ͟ƐĞĐƟŽŶŽĨƚŚĞĨŽƌŵ͕ƉƌŽĐĞĞĚƚŽƚŚĞƚŚŝƌĚƋƵĞƐƟŽŶ;͞ƌĞǇŽƵĮůŝŶŐĂĐůĂŝŵĨŽƌĂ
        ĐƵƌƌĞŶƚĂĐĐŽƵŶƚ͕ĂĚĞůĞƚĞĚĂĐĐŽƵŶƚŽƌĂĐŽŵďŝŶĂƟŽŶŽĨďŽƚŚ͍͟Ϳ͘
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    ϳ͘ ŽŵƉůĞƚĞƚŚĞŝŶĨŽƌŵĂƟŽŶƌĞƋƵĞƐƚĞĚƌĞŐĂƌĚŝŶŐǇŽƵƌĂĐĐŽƵŶƚ;ƐͿ͕ĂƐĂƉƉůŝĐĂďůĞ͘




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